EXHIBIT B
 

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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK

ARIE GENGER and ORLY GENGER, in her INDEX NO. 651089/2010
mdividual capacity and on behalf of the ORLY

GENGER. 1993 Trust,
THIRD AMENDED AND
Plaintiffs, SUPPLEMENTAL COMPLAINT
-against-

SAGI GENGER, TPR INVESTMENT
ASSOCIATES, INC., DALIA GENGER, THE
SAGI GENGER 1993 TRUST, ROCHELLE
FANG, Individually and as Trustee of THE
SAGI GENGER 1993 TRUST, GLENCLOVA
INVESTMENT COMPANY, TR.

INVESTORS, LLC, NEW TR EQUITY J,
LLC, NEW TR EQUITY II, LLC, JULES
TRUMP, EDDIE TRUMP, MARK HIRSCH,
and TRANS-RESOURCES, INC.

Defendants.

 

 

Plaintiffs Arie Genger and Orly Genger, m her individual capacity and on behalf of the
Orly Genger 1993 Trust, by their respective attorneys, for their Third Amended and
Supplemental Complaint against the defendants in this action allege, on information and belief,

as follows:
I. THE PARTIES

1. Plaintiff Arie Genger (“Arie”) 1s a resident of the State of Florida, and the father
of the Plaintiff Orly Genger (“Orly”) and the defendant Sagi Genger (“Sagi”),

2. Plaintiff Orly Genger is the adult daughter of Arie Genger and Dalia Genger, and
the beneficiary of the Orly Trust, and a resident of the State of New York and is the beneficiary
of the Orly Genger 1993 Trust (the “Orly Trust”). She brings this action on behalf of the Orly

Trust as the beneficiary of the Orly Trust to protect her interests thereunder.
3. Defendant Sagi Genger (“Sagi”) is the estranged adult son of plaintiff Arie
Genger and Defendant Dalia Genger, and is a resident of the City, County, and State of New
York, and maintains an office at 1211 Park Avenue, New York, NY 10128.

4, Defendant TPR Investment Associates, Inc. (“TPR”) is a Delaware Corporation
with a principal office located at 1211 Park Avenue, New York, NY 10128.

5. Atall relevant times to this Complaint Sagi is the President of defendant TPR and
continues to be a controlling member of TPR’s Board of Directors.

6. Defendant Dalia Genger (“Dalia”) is the mother of Sagi Genger and Orly Genger
and the former wife of the Plaintiff Arie Genger, and is a resident of the City, County and State
of New York. Dalia is the putative trustee of the Orly Trust and at relevant times to this
Complaint is believed to have been a director of TPR.

7. Defendant The Sagi Genger 1993 Trust (‘Sagi Trust”) is a trust entity, and the
beneficiary of the Sagi Trust is Sagi.

8. Defendant Rochelle Fang (“Fang”) is the mother-in-law of the Defendant Sagi
Genger and was the Trustee of the Sagi Trust during relevant periods in 2008, and is a resident of
the City, County and State of New York.

9. Defendant Glenclova Investment Company (“Glenclova”) is a Cayman Islands
company with a business address in the Bahamas, and an owner of common stock of Trans-
Resources, Inc. (“TRI”). On information and belief Glenclova is in turn owned by other off-
shore companies directly or indirectly controlled by the Trump Parties as defined below.

10. Defendant TR Investors, LLC (“TR Investors”) is a New Jersey Limited Liability

Company and an owner of common stock of TRL On information and belief TR Investors is in
turn owned by other off-shore companies directly or indirectly controlled by the Trump Parties
as defined below.

11. Together Glenclova and TR Investors are controlled by the Trump Group of
South Africa and are collectively referred to herein as the “Trump Group”.

12. Defendant New TR Equity I, LLC (‘New TRI”) is a Delaware Limited Liability
Company, controlled by Jules Trump and/or Eddie Trump.

13. Defendant New TR Equity II, LLC (“New TR II”) is a Delaware Limited Liability
Company, controlled by Jules Trump and/or Eddie Trump. |

14. Defendant Jules Trump is a resident of Florida, and an officer and director of
Glenclova.

15, Defendant Eddie Trump is a resident of Florida, and. an officer and director of
Glenclova.

16. Defendant Mark Hirsch is a resident of New York, and an officer and director of
Glenclova.

17. The Tromp Group, New TR I, New TR II, Jules Trump, Eddie Trump and Mark
Hirsch are referred to herein as the “Trump Parties.”

18. Defendant Trans-Resources, Inc. (“TRI”) is a Delaware Corporation which is
doing business in the City, County and State of New York, with its principal place of business
located in the City, County and State of New York.

19. | The claims set forth in this Complaint arise from the conduct of each of the
defendants, or their respective agents and co-conspirators, who committed one or more (i)

tortious acts within the state, {ii} tortious acts without New York State causing injury to the
Plaintiffs or their property within New York State, and (iii) breaches of contract or fiduciary duty
arising from contractual obligations, transactions and fiduciary obligations performed or to be
performed in New York State.
I. NATURE OF THE CASE

20. In this case, Plaintiffs Arie and Orly, in her individual capacity and on behalf of
the Orly Trust, are seeking declaratory, injunctive, and other equitable relief, as well as
additional compensatory damages in an amount yet to be determined arising from, inter alia, the-
loss of Arie’s voting control of TRI and the tortious conduct of the defendants as set forth herein,
in connection with the Trump Parties’ campaign to take over and dilute the value of plaintiffs’
interests in TRI, a company founded by Arie nearly three decades ago, including the defendants’
wrongful, concerted efforts to strip Arie of his ownership and control of 52.85% of the shares of
TRI’s common stock, including the Orly Trust’s interest in a portion of this TRI stock, and to
oust Atie from his management control of TRI—all in an audacious series of breaches of
contractual, fiduciary and legal obligations giving rise to each of the causes of action alleged in
this Complaint.
If FACTS RELEVANT TO ALL CLAIMS

A. Background
21. The Plaintiff Arie is the founder and former Chairman of TRI, a private

corporation which, through its subsidiaries, is a leading distributor and manufacturer of
agricultural fertilizer worldwide.
22. Arie founded TRI in 1985. Until 2001, TRI was wholly-owned by TPR

Investment Associates, Inc, (“TPR”), a Genger family corporation established by Arie.
23. Prior to October 30, 2004, TPR was controlled by Plaintiff Arie who owned 51%
of TPR stock.

24. Prior to October 30, 2004, Arie maintained majority control of TRI through his
51% majority ownership and control of TPR.

25. The minority 49% interest in TPR, prior to October 30, 2004, was owned by
D&K, Ltd, Partnership (“D&K”), also a Genger family company, which was in tum owned by
Arie’s wife, Dalia, (4%), the Sagi Trust and the Orly Trust (48% each).

26. The Sagi and Orly Trusts were established in 1993 by Arie as part of a family
estate plan.

27.  In2001, defendants Glenclova and TR Investors became minority shareholders of
TRL, acquiring approximately 47.15% of TRI common stock.

28.  Asaresult of the Trump Group acquiring 47.15% of FRI common stock, TPR
became the owner of 52.85% of TRI stock with Arie maintaining a 51% controlling interest in
TPR. Through his 51% ownership of TPR, Arie maintained control of a majority 52.85%
interest in TRI, the company he founded.

29. | When the Trump Group became a minority shareholder of TRI, the Trump Group
and TPR entered into the 2001 TRI Stockholders Agreement, dated March 30, 2001 (the “2001
TRI Stockholders Agreement”) which, among other things, was intended to ensure that Arie
(through his controlling interest in TPR) would continue to control the majority voting rights of

TRI shares for the duration of his life.
30. The 2001 TRI Stockholders Agreement specifically recognized that Arie was the
51% owner of TPR and that Dalia and the Orly Trust and the Sagi Trust through the D&K
Limited Partnership together owned 49% of TPR.

31. The 2001 TRI Stockholders Agreement contains certain provisions restricting
the transfer of TPR’s majority interest in TRI to someone other than Arie during his lifetime,
except under certain enumerated conditions intended to ensure that Arie, as the majority
shareholder of TPR, would maintain contro] over 52.85% of TRI shares during his life. The
2001 Stockholders Agreement specifically provides that exclusive jurisdiction over disputes
relating to this 2001 TRI Stockholders Agreement shall be in Federal courts or New York State
courts sitting in the City, State, and County of New York. The full terms and conditions of the
2001 TRI Stockholders Agreement are incorporated herein by reference.

B. The Genger Diverce and Court-Ordered Stipulation of Settlement

32. In 2002, Dalia and Arie became embroiled in a bitter divorce action venued in the
Supreme Court, New York County, entitled Dalia Genger v. Arie Genger, Index No. 302436-
2002 (“Genger Divorce Action”),

33. In October of 2004, Dalia and Arie agreed to a Stipulation of Settlement, which
was incorporated into a Judgment of Divorce in the Genger Divorce Action on January 7, 2005
(“Stipulation of Settlement”), attached hereto as Exhibit A. This Court-Ordered Stipulation of
Settlement, among other things equitably distributed between Arie and Dalia various marital
assets, including the ownership interests in the family holding company TPR which then held
52.85% of TRI common stock which was controlled by Arie through his control of TPR.

Pursuant to the terms of the Judgment of Divorce, the New York State Supreme Court retained
jurisdiction over the parties with respect to the enforcement of the terms of the Stipulation of

Settlement.

34. Pursuant to the terms of the Stipulation of Settlement and certain 2004 TPR
Transaction Documents (described below) implementing the Stipulation of Settlement, it was
agreed by and among Arie, Dalia, Sagi, Orly, the Orly Trust, and the Sagi Trust that as part of
the settlement of the Genger Divorce Action, that Arie would transfer his 51% interest in the
TPR marital asset to Dalia, in consideration of TPR concurrently divesting itself of its 52.85%
majority interest in TRI on the following terms and conditions, which were all part of a single

integrated transaction:
i. The defendant Sagi would become the President of TPR;

ii. TPR, by Sagi as President of TPR, would transfer to the plaintiff Arie
direct ownership of 794.40 shares of TRI common stock representing
13.99468% of the common stock of TRI;

ili. TPR, by Sagi as President of TPR, would transfer to each of the Sagi Trust
and Orly Trust, record ownership of 1,102.80 shares (or 19.42766 % each)
of TRI stock, subject to and on the further conditions that:

(a) the Sagi Trust and the Orly Trust would each execute and deliver a
2004 Voting Trust Agreement to Arie which provides further that:

(i) the Sagi Trust and the Orly Trust would immediately execute
and deliver to Arie an irrevocable voting proxy (“Putative
Irrevocable Proxies”) intended to ensure that Arie would maintain
voting control over the Sagi Trust TRI shares and the Orly Trust
TRI Shares for the duration of Arie’s life, and

(ii) in the event that the Putative Irrevocable Proxies granted by the
Sagi Trust and the Orly Trust to Arie were ever held to be invalid
then:

(1) a Back-up Voting Trust Agreement would be entered
into promptly between each of the Sagi and Orly Trusts and Arie
which:
(a) grants Arie the right to vote the Orly Trust and Sagi
Trust TRI shares for the duration of Arie’s life,

(b) provides that Arie is entitled to keep possession of the
Sagi Trust and Orly Trust TRI Shares pursuant to a Voting
Trust Agreement in a form attached to the 2004 Voting
Trust Agreement, and

(c) provides that the Orly and Sagi Trust TRI shares would
not be sold without a prior Court order,

and the 2004 Voting Trust Agreement further provides that:

(2) pending the execution of the Back-up Voting Trust
Agreement, the Orly and Sagi Trusts would be obligated to
vote the Orly Trust and Sagi Trust Shares as directed by Arie
during his lifetime.

Id.(emphasis added)

35, The Court-Ordered Stipulation of Settlement in the Genger Divorce Action is

attached as Exhibit A hereto.

36. — Article I of the Stipulation of Settlement in the Divorce Action, entitled
“Distribution of Assets,” specifically provides, in pertinent part, as follows:

[2. (a)] “(ii) [Dalia] shall receive ... sole ownership of the
husband’s [Arie’s] two hundred and fifty (250) shares of common
stock of TPR Investment Associates, Inc. (“TPR”), .. . which
represents fifty-one percent (51%) of the issued and outstanding
shares of common stock of TPR (exclusive of the 1.96%
ownership of TPR, which the wife [Dalia] owns indirectly through
her general partnership interests in D&K [partnership].

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“9. (a) TPR owns 3,000 shares of stock in Trans-Resources, Inc.
(“TRI Stock”)... .. Concurrently with the execution of this
agreement, the TRI Stock shall bedistributed as follows:

“(i} The husband [Arie], shall receive 794.40 shares of
the TRI Stock, representing 13.99468% of the common stock
of TRI;
(ii) Each of Sagi Genger and Orly Genger, will receive
in trust 1,102.80 shares of TRI Stock representing 19.42766%
of the common stock of TRI for each of Sagi and Orly, and
such trusts will simultaneously therewith execute and deliver
irrevocable proxies to the husband for all of the TRI Stock
owned by the trusts; and

“(c) Concurrently with the execution of this Agreement,
each of the Husband and Wife will execute and deliver or cause
TPR to execute and deliver (i) all documents reasonably
necessary to effect the transfers required by subparagraph (a)
of this Section 9, and (ii) duly executed stock powers to transfer
the shares as required by subparagraph (a) of this Section 9.

kok *

“(e) Following the foregoing transfers of the TRI Stock, the wife
[Dalia] will have no ownership mterest in TRI.”

(Stipulation of Settlement, Exhibit A hereto, Article II, paragraph 2(a) (ii), p.5, and paragraph 9
(a), (c) & (e) at pp. 13, 14) (emphasis added).

37. The Stipulation of Settlement also provides that this TPR/TRI transaction was a
fundamental part of the Stipulation of Settlement, and specifically states in pertinent part, in
bold and capital letter type:

“A FUNDAMENTAL PART OF THIS AGREEMENT IS THE

HUSBAND’S RELINQUISHMENT OF HIS OWNERSHIP

OF SHARES OF COMMON STOCK IN TPR, AND THE

TRANSFER OF SUCH OWNERSHIP TO THE WIFE.”
Stipulation of Settlement, Exhibit A hereto, Article 3, para. 1.

38. The Stipulation of Settlement also included an express reformation clause which
provides that in the event that any term of the Stipulation of Settlement were to be voided by a

court of competent jurisdiction for any reason, then either Dalia-or Arie would be entitled to seek

court-ordered reformation of the Stipulation of Settlement in a New York Court to give effect to
the intent of the parties to the fullest extent permitted by the laws of the State of New York. This

reformation clause of the Stipulation of Settlement provides:
“ARTICLE XVI

POSSIBLE INVALIDITY

“If any provision of this [Stipulation of Settlement], for any reason
whatsoever, be declared ... unenforceable by any Court of
competent jurisdiction ... the remainder of this Agreement and
the application of such provision to any person or situations, other
than those as to which such provision may have been invalid or
unenforceable shall not be affected thereby and shall continue to be
enforced to the fullest extent that such severance of the invalid
portions is possible without vitiating the original intent and
purposes and economic intentions of the parties (the “Original
Intent”), as herein set forth... . In the event a provision is
superseded under this [Stipulation of Settlement], either party
may seck reformation of the affected provision in any court of
competent jurisdiction which shall be empowered to revise the
provision to reflect the parties’ Original Intent to the greatest
extent possible, consistent with New York law. It is the
intention of the parties hereto that this provision may be enforced
in equity in addition to, and not to the exclusion of, any other
remedies which may be available to the parties,”

(Stipulation of Settlement, ARTICLE XVI, Exhibit A at pages 47-48) (emphasis added)).

39. Dalia was represented by separate, independent legal counsel in connection with
the negotiation and her execution of the Stipulation of Settlement.

40. _—_‘ Dalia, through her counsel, received a complete copy of the 2001 TRI
Stockholders Agreement prior to the execution of the Stipulation of Settlement.

41. Sagi had full knowledge of the terms of the Stipulation of Settlement prior to, and
at the time that it was negotiated and executed, and was named as a fiduciary with regard to

certain marital property distributed or to be distributed under the Stipulation of Settlement.

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42. Sagi and his own counsel were provided with a full and complete copy of the
2001 TRI Stockholders Agreement prior to the execution of the Stipulation of Settlement.

43. Edward Klimmerman, a partner at Sonnenschein, Nath & Rosenthal, LLP (now
known as SNR Denton), represented Arie in the Genger Divorce Action, had full knowledge of
the negotiation and terms of the Stipulation of Settlement at the time the Stipulation of
Settlement was.executed. Mr. Klimmerman signed the Stipulation of Settlement as a witness.
Mr. Klimmerman was also legal counsel fer TRI and TPR at the time the Stipulation of
Settlement was executed.

44. As counsel for TRI and TPR, Mr. Klimmerman participated in the actual drafting
of the 2001 TRI Steckholders Agreement. As Arie’s counsel in the Genger Divorce Action, he
did not advise Arie that anything in the Stipulation of Settlement vielated any term of the 2001
TRI Stockholders Agreement between TPR and the Trump Group.

45. Ane reasonably believed that the transfers set forth mn the 2004 Transfer
Documents and Court-Ordered Stipulation of Settlement were valid and enforceable.

46. — Dalia and her legal representatives reasonably believed that the 2004 Transfers
provided for in the Stipulation of Settlement were valid and enforceable at the time Dalia entered
into the Stipulation of Settlement.

47, Defendant Jules Trump, a representative of the Trump Group was aware of the
Genger Divorce Action, and prior te the execution of the Stipulation of Settlement testified as a

witness in the Genger Divorce Action in connection with the ownership of TRI shares.

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c. The 2004 TPR Transfer of TRI Shares Pursuant to the Stipulation of
Settlement

48. To implement the TPR and TRI share transfer provisions in the Stipulation of
Settlement, Arie, the Sagi Trust, the Orly Trust and TPR, concurrently with the execution of the
Stipulation of Settlement, entered into the following “2004 TPR Transaction Documents” in
accordance with the express terms and intent set forth in the Stipulation of Settlement:

(i) a 2004 TPR Agreement to Transfer TRI Shares, dated
October 29, 2004 (the “2004 TPR Transfer Agreement”, attached
hereto as Exhibit B}; and

Gi) a 2004 Voting Trust Agreement, dated October 29,
2004 (the “2004 Voting Trust Agreement”, attached hereto as
Exhibit C), which attached:

(a) Executed Documents referred to as Putative Irrevocable
Proxies, dated October 29, 2004, executed by the Sagi Trust and
the Orly Trust (“Putative Irrevocable Proxies”, attached hereto as
Exhibit D) which by their specific terms purported to grant to the
Plaintiff Arie the right to control and vote the Sagi Trust TRI
shares and the Orly Trust TRI shares for the duration of his life,
and

(b} a form Back-up Voting Trust Agreements (“Back up
Voting Trust Agreements”, attached here to Exhibit E), which
were to be executed promptly by the Sagi Trust and the Orly Trust
in the event that the Putative Irrevocable Proxies granted by the
Sagi Trust and the Orly Trust to Arie were ever held to be.invalid,
and provided that:

(i) the Sagi Trust and the Orly Trust were required
to vote the TRI shares in accordance with Arie’s directions
pending the execution of the Back-up Voting Trust Agreements in
accordance with the express intent in the Stipulation of Settlement
that Arie was to maintain voting control of the Sagi Trust and Orly
Trust TRI shares for the duration of his life;

(ii) Arie would be entitled to keep possession of the
Sagi Trust and Orly Trust TRI Shares pursuant to a Voting Trust
Agreement in the form attached to the 2004 Veting Trust
Agreement; and

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49,

parties to the Stipulation of Settlement and 2004 Transaction Documents that Arie, for the
duration of his life, would continue to have voting control over 52.85% of the outstanding shares

of TRI that were previously owned by TPR and controlled in turn by Arie through his 51%

(iii) the Orly and Sagi Trust TRI shares would not
be sold without a prior Court Order. -

Each of the 2004 Transaction Decuments confirm the stated intention of the

 

ownership of TPR.

D. The 2004 TPR Transfer Agreement-Exhibit B

50. The 2004 Transfer Agreement executed by Sagi himself on behalf of TPR,
provides :

“This letter will set forth our agreement pursuant to which you will
purchase the 3,000 shares of common stock (“the Shares”) of
Trans-Resources, Inc. (“TRI”) owned by TPR Investment
Associates, Inc. (“TPR”). TPR hereby sells, transfers and conveys
the Shares to you as follows:

(i) 794,40 shares to Arie Genger;
(ii} 1,102.80 Shares to the Sagi Genger 1993 Trust, and

Gi) 1,102.80 Shares to the Orly Genger 1993 Trust.

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“The Shares represent 52.85% of the issued and outstanding shares
of TRE. The Shares are being transferred hereunder free and clear
of any liens, claims or encumbrances and such transfer does not
violate the Certificate of Incorporation of TPR or any
agreement to which TPR is subject.

“The trustees of the Sagi Genger 1993 Trust and of the Orly
Genger 1993 Trust (“Trusts”) have agreed to execute on behalf
of the Trusts (i) an Irrevocable Proxy to appoint Arie Genger
to vote the Shares owned by the Trusts and (ii) a voting trust
letter agreement, copies of which are annexed hereto.”

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“In case, at any time hereinafter, any further action is
necessary or desirable to carry out the purposes of this Letter
Agreement, each of the parties hereto shall take or cause to be
taken all necessary action, including, without limitation, the
execution and delivery of such further instruments and documents
which may be reasonably requested by any party for such purpose
or otherwise to complete or perfect the transactions
contemplated hereby.”

This Letter Agreement shall be governed by the laws of the State
of New York without regard to conflicts of law principles.

(2004 TPR Transfer Agreement, Exhibit B) (emphasis added)

E. The 2004 Voting Trust Agreements (Exhibit C hereto)
51. In accordance with the terms of the Stipulation of Settlement (Exhibit A) and the

2004 TPR Transfer Agreement (Exhibit B), Arie and the Sagi and Orly Trusts, respectively,
entered into identical 2004 Voting Trust Letter Agreements in favor of Arie (Exhibit C) which

provide as follows:

“In connection with the transfer to the [Sagi and Orly Trusts] of
1,102.80 shares [each] of common stock (the “Shares”) of Trans-
Resources, Inc. (TRI) pursuant to the terms and conditions of
the Stipulation of Settlement of even date herewith, the [Sagi
and Orly] trust is [each] granting to Arie Genger an irrevocable
proxy (“the Proxy”) for the shares, a copy of which is annexed
hereto.

- (Exhibit C)(emphasis added).

F, The 2004 Putative Irreyocable Proxies Executed By The Sagi and Orly
Trusts (Exhibit D, hereto)
52. In accordance with the 2004 TPR Transfer Agreement, the Stipulation of

Settlement, and the 2004 Voting Trust Agreement, the Sagi and Orly Trusts executed two
identical Putative Irrevocable Proxies, each of which states, in relevant part, that:
“The Sagi Trust and Orly Trust, each respectively], (“the Trust”)

being the current record and beneficial owner of 1,102.80 shares of
common stock of [TRI] does hereby constitute and appoint Arie

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Genger, Chairman of the Board, Chief Executive Officer, and
owner of approximately fourteen percent (14%) of the shares
of common stock of TRI to vote as its proxy, all shares of
common stock of TRI which are now or hereafter owned by
the Trust, at any and all meetings of the stockholders of TRI,
regular or special, or by consent in lieu of meeting or any
adjournments thereof in the same manner and to the same extent
that the Trust might were the Trust present at said meeting (or
executing such consent), upon any issue or proposal which may be
brought before such meeting or by such consent.

“This Irrevocable Proxy shall he deemed coupled with an
interest and be irrevocable from the date hereof, and shall
continue for the duration of Arie Genger’s life.”

(Exhibit D)(emphasis added).

53. The 2004 Voting Trust Agreement further provides that in the event that the
Putative Irrevocable Proxies were ever declared inyalid, the Orly and Sagi Trusts would be
obligated to enter into a Back-up Voting Trust Agreenient (Exhibit E) to assure that Arie would
maintain voting control over a majority of TRI shares for the duration of his life. This part of the
2004 Voting Trust Agreement, executed by the Sagi Trust and the Orly Trust, provides:

“In the event that for any reason the Proxy is declared invalid
and is no longer in effect, the Trust agrees, as promptly as
practicahle, to enter into a Voting Trust Agreement (the
“Voting Agreement”) with Arie Genger as the voting trustee,
which shall be substantially in the form annexed hereto.
During the time the Proxy is not in effect and prior to the time
the Voting Agreement is entered into, the Sagi Trust agrees to
vote the shares as directed in writing by Arie Genger.”

(2004 Voting Trust Agreement, Exhibit C ) (emphasis added).

G. Back-Up Voting Trust Agreement (Exhibit EF hereto)
54. The Backup Voting Trust Agreement, which springs into effect upon the Putative

Irrevocable Proxies being voided, provides:

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“The Trust Securities [the Sagi and Orly TRI Shares subject to
the Voting Trust] shall be held by the Trustee [Arie Genger]
for tbe purposes of and in accordance with this Agreement and
none of the Trust Securities shall be sold or otherwise disposed
of by the Trustee except as herein expressly provided or in
accordance with a final order of any Court or administrative
agency with jurisdiction thereover.”

* & %

“This Agreement shall continue in effect for the duration of
Arie Genger’s Life”

Exhibit E. (emphasis added}

55, In order to ensure that he maintained absolute control of the TRI shares for the
duration of his life, Ane never delivered physical copies of TPR’s TRI shares to the Orly or Sagi
Trusts.

H. The Intent of the Parties
56. The written 2004 Transaction Documents and the Stipulation of Settlement reflect

the stated intention of all the parties to these collective documents, to wit, that in order to resalve
the contested Genger Divorce Action, Arie agreed as part of-the distribution of marital assets to
transfer his 51% interest in the family holding company, TPR, to Dalia, in exchange for Dalia
agreeing that TPR would concurrently divest itself of its 52.85% interest in the common stock of
TRI by distributing TPR’s 52.85% majority interest in TRI to Arie (14%), the Sagi Trust
(19.425%), and the Orly Trust (19.425%) each, on the express further condition that Aric
maintain voting rights for the Sagi Trust and Orly Trust TRI shares for the duration of his
life. |

57, Arie, Dalia, Sagi and Orly each reasonably believed that the 2004 Transfers

provided for in the Stipulation of Settlement were valid and enforceable.

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58. Arie, Dalia, Sagi and Orly each reasonably believed that the Putative Irrevocable
Proxies and Voting Trust Agreements were valid and assured that Arie would be able to maintain
58.85% voting control for the duration of his life.

59. Accordingly, the concurrently executed integrated 2004 Transfer Documents were
intended to implement the terms of the Stipulation of Settlement which provided expressly that
Arie was to retain his 52.85% voting control over TRI and concomitantly continue to control the
management and Board of TRI during his lifetime.

60. It was also the parties’ stated intention, and all parties reasonably believed, that
the terms of the court-ordered Stipulation of Settlement with Dalia would not violate the terms or
intent of the 2001 TRI Stockholders Agreement because Arie would still control what had been
TPR’s voting majority of TRI shares.

61. The Genger Divorce Action was not concealed from TRI, the Trump Group, or
the Trump Parties at any time.

62, The 2004 transfers of TRI shares to Arie, the Sagi Trust and the Orly Trust were
reflected in the books and records of TRI.

63. Prior to 2008, Jules Trump, and Mark Hirsch, each individually and on behalf of
the Trump Group between 2004 and 2008 had access to the books and records of TRI.

64. Between 2004 and 2008, as a Director of TRI, Jules Trump and Mark Hirsch,
each had a fiduciary duty and legal duty of reasonable care to the record and beneficial owners,
including TPR and TRI, to knew the identity of all TRI shareholders of record as set forth in the

books and records of TRI- a close corporation.

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65, As a Directors of TRI, Jules Trump, and Mark Hirsch, each individually and on
behalf of TRI, had a fiduciary and legal duty of reasonable care to TPR and Arie to.read all
corporate Board minutes and other documents presented to the Directors and/or shareholders of
TRI, in their entirety, prior to signing such documents.

66. Prior to 2008, the books and records of TRI show that:

(i) Arie was record owner of 794.40 shares of TRI, representing 13.9946% of the
common stock of TRI:

(ii) the Sagi Trust was the record owner of 1102.80 TRI shares, representing
19.42766% of the common stock of TRI; and

(iii) the Orly Trust was the record owner of 1102.80 TRI shares, representing
19.42766% of the common stock of TRI.

67. Prior to 2008, the 2004 Transfers and the record ownership of TRI shares was
known by:

(i) the officers and directors of TRI, in addition to Arie
(ii) TRI’s legal counsel; and
(iii) TRI’s Certified Public Accountant.

68. Jules Trump, and Mark Hirsch, each individually and on behalf of the Trump
Group executed corporate TRI documents as Director and/or on behalf of a shareholder of TRI
which indicated that Arie, the Orly Trust and the Sagi Trust were the record owners of TRI

shares.

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69. The terms of the Stipulation of Settlement relating to the distribution of TPR and
TRI shares as marital asséts in connection with the Genger Divorce Action were not in any way
or at any time concealed from TRI, the Trump Group, or the Trump Parties.

70. Prior to 2008, the Trump Group, through Jules Trump, who testified in the Genger
Divorce Action, and otherwise knew, and was aware that the Genger Divorce Action could
involve in some way the equitable distribution of TPR shares owned by Arie as part of the
divorce action.

71. Prior to 2008, the Trump Group, through Jules Trump, who testified in the Genger
Divorce Action, knew, and was aware that the Genger Divorce Action involved in some way the
value of TPR’s ownership of TRI shares.

72. Prior to 2008, the Trump Group, through Jules Trump, whe testified in the Genger
Divorce Action, knew, and was aware that the Genger Divorce Action involved in some way
Arie’s management and control over TRI, the company that he had founded and managed since
1985.

73. Prior to 2008, Jules Trump knew that ownership of TPR, as a marital asset which
owned 52.85% of TRI shares, was a major asset and was the subject of a claim by Dalia for
equitable distribution in the Genger Divorce Action.

74. Prior to 2008, the Trump Group, through Jules Trump, who testified in the Genger
Divorce Action, knew, and was aware that the Genger Divorce Action would involve in some
way the equitable distribution of TPR assets, including Arie’s 51% majority ownership of TPR.

75. Prior to 2008, the Trump Group, through Jules Trump whe testified in the Genger

Divorce Action, and otherwise knew, and was aware that the Genger Divorce Action could

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involve D&K Limited Partnership, which was identified in the 2001 TRI Stockholders
Agreement as an owner of 49% of TPR (the majority Shareholder of TRI) and further disclosed
that in turn this 49% minority ownership of TPR by D&K was owned by Arie’s wife Dalia (4%)
the Sagi Trust (48%) and the Orly Trust (48%), and that these Trust interests could be effected
by the equitable distribution of TPR assets asipatt of the Genger Divorce Action.

76. The Trump Group knew that the 2001 TRI Stockholders Agreement did not
contain an express provision setting forth the rights and obligations of TPR, Arie or the Trump
Group in the event of a contested divorce involving Arie’s ownership of TPR shares as marital
property, including TPR’s ownership of TRI shares under New York’s equitable distribution
laws or otherwise.

77. Prior to 2008, Arie had reason to believe that The Trump Group, through Jules
Trump, and otherwise, had notice of the 2004 Transfers.

78. Prior to 2008, Arie had reason to believe that The Trump Group had notice of the
2004 Transfers which were reflected in TRI corporate documents.

79. Prior to 2008, the Trump Group and Jules Trump, in particular, had knowledge of
facts in 2002-2004 including, but not limited, to the fact that Arie was involved in a bitter
contested divorce, and that the issue of Arie’s ownership interests in TRI, through TPR or
otherwise, was an issue raised in the Genger Divorce Action.

80. Between 2004 and 2008, Directors of TRI, its legal counsel, Secretary, as well as

its Controller, knew of the 2004 transfers.

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81. Between 2004 and 2008, TRL, under Arie’s management, teported the new
company ownership resulting from the 2004 transfers to its lead bank, the IRS, and TRI’s
insurance company.

82. Between October 2004 and August of 2008 nothing prevented the Trump Group,
Jules Trump, TRI or its officers or directors, or any of them, from making any inquiry
whatsoever of Arie, Orly, TPR, TRI, TRI’s general counsel, Dalia, Sagi, the Sagi Trust, the Orly
Trust, or D&K, conceming the effect, if any, that the Genger Divorce Action, or any judgment or
resolution of the Genger Diverce Action had, would or could have, on (i) the ownership of TPR,
(ii) Arie’s ownership of a majority interest of TPR, (iii) TPR’s ownership of TRI, (iv) Dalia’s
interest in D&K minority ownership of TRI, or the rights of the Sagi Trust or the Orly Trust as
limited partners of D&K which owned approximately 49% each of TPR -- which ownership was
acknowledged by the Trump Group in the 2001 TRI Stockhelders Agreement.

83. Between October 2004 and August of 2008 nothing prevented the Trump Group,
Jules Trump, TRI or its officers or directors, or any of them, from making any inquiry
whatsoever of Arie, Orly, TPR, TRI, TRI’s general counsel, Dalia, Sagi, the Sagi Trust, the Orly
Trust, or D&K. as to the identity of the record owners of TRI.

84. Jules Trump, Eddie Trump and Mark Hirsch (an attorney) at all times relevant to
this complaint were sophisticated business individuals, with special expertise in corporate
governance and ownership.

85. At all times relevant to this action the Trump Parties had access to independent

legal counsel.

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86. Prior to 2008, the Trump Group, by Jules Trump, and otherwise, acted with
willful blindness and indifference to facts which put The Trump Group on notice of (i) the 2004
Transfers, and (ii) that Arie, the Sagi Trust and the Orly Trust were record owners of their
respective TRI shares.

87. | The Trump Group, by Jules Tromp, and otherwise, waived any objection to the
2004 Transfers.

88. Between 2004 and 2008, under Arie’s management, TRI’s business performance
improved consistently without any complaint or objection by TRI’s Board of Directors
including but not limited to representatives of the Trump Group.

L The Trump Parties’ 2008 Scheme and Conspiracy to Seize Majority Control

of TRI, Squeeze Out Arie as an Officer, Director and Sharehalder of TRI

and Dilute the Value of Arie’s, Orly’s and the Orly Trust's Interests in the
Affected TRI Shares

89. There was no hint of any substantial disagreement between Arie and the Trump
Group relating to the Genger Divorce Action, or otherwise, until June of 2008, when TRI’s value
increased substantially as a result of improved performance.

90. In the early Spring of 2008, TRI was facing a threat of foreclosure of one of its
major operating units by Bank Hapoalim, a long-time lender of TRI.

91. To address this foreclosure threat, Arie and the Trump Group explored the
possibility of a sale of assets and restructuring plan involving the spin-off of all of TRI’s North
American assets to a separate entity and a capital loan by the Trump Group into a residual TRI to
retire the Bank Hapoalim debt in exchange for increasing the equity position of the Trump Group
in the restructured TRI so that the Trump Group would obtain a majority position (the “Funding

- Plan”).

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92. Had the Funding Plan been implemented, in return for providing funding Jules
and Eddie Trump through TR-I and TR-II would, for the first time, have been permitted to obtain
a direct ownership interest in TRI, and the Trump Parties, under the Funding Plan, would have
obtained majority control over TRI, the company that Ane had founded and worked so hard to
make succeed.

93. TRI’s legal counsel advised that it would be necessary for a special commuttee of
the Board to be coristituted in order for the Board to approve the Funding Plan without the vote
of Jules Trump who was an interested Director with a conflict of interest. -

94. Despite requests from Arie to constitute such a committee, the Trump Group
Directors failed to agree to the appointment of such committee.

95. The Board of TRI never constituted a special committee in order for the Board to
approve the Funding Plan.

96. The implementation of the Funding Plan was also subject to other conditions
relating to the value of the transaction which conditions were never met.

97. While the proposed Funding Plan was being worked on, the financial condition of
TRI began to improve substantially. By late June 2004, TRI was generating positive cash flow
of $15-20 million per month. This represented a dramatic improvement in TRI’s earnings within
a matter of months in 2008, and rendered the Funding Plan unnecessary.

98. Asaresult, there was no longer a need for TRI or Arie to move forward with the .

Trump Group Funding Plan that would have given the Trump Parties’ majority control of TRI.

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99. To proceed with the Funding Agreement would have diluted the shares of existing
shareholders and cause TRI to pay the Trump Group unreasonable fees for a loan that was not
needed.

100. Based on the advice of TRI’s Delaware corporate counsel concerning the
establishment of an independent committee of the Board to approve the Funding Plan, which the
Trump Group refused to empanel, and the fact such a Funding Plan was no longer necessary
because of improved performance of TRI which permitted the satisfaction of the Bank Hapoalim
loan, the Funding Plan was rejected and the Bank Hapoalim loan satisfied with TRI’s own
substantially improved earnings without the need for funding from the Trump Parties or any
other third-party.

101. Oninformation and belief, the Bank Haopolim’s threat of foreclosure and the
Funding Plan takeover proposed by the Trump Group were also engineered by Jules Trump,
individually, and on behalf of the Trump Group with the aid, assistance and further illegal
conduct of the Trump Group and a principal officer of Bank Haopolim with whom the Trump
Group had other business entanglements.

102. Thwarted in their effort to take over the controlling interest in TRI through the
rejected Funding Plan, the Trump Group, Mark Hirsch, Eddie Trump, and Jules Trump
formulated a further illegal scheme and plan to take over the then very profitable TRI, and oust
Arie as its CEO, and steal the Genger family TRI shares at a fraction of their value.

103. In furtherance of this plan, the Trump Group leveled an extortionate threat at Arie
demanding that unless Arie agreed to turn over majority contro] of TRI to the Trump Group

pursuant to the Funding Plan (which was no lenger necessary ), the Trump Group would declare

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that the 2004 TPR transfers of TRI shares to Arie, the Sagi Trust and the Orly Trust under the
Stipulation of Settlement were void under the 200] TRI Stockholders Agreement even though
Arie as a permitted Transferee held 14% of TRI outright, and had received a Voting Trust
Agreement and Putative Irrevocable Proxies from the Sagi Trust and the Orly Trust which, on
their face, gave Arie the right during his lifetime to control the management of TRI, and vote the
same 52.85% shares of TRI stock that had been controlled by Arie through bis 51% ownership of
TPR prior to the Stipulation of Settlement and the execution of the 2004 Transfer Documents,
Thus, there was virtually no effective difference m Arie’s contro] of TRI Shares as between his
majority control of TPR prior to the execution of the Stipulation of Settlement, and the intended
control that Arie would exercise after the Stipulation of Settlement and 2004 Transfer
Documents were executed.

104. At the time they made this threat in 2008, the Trump Parties, among other things,
knew that:

(i) the intent of the parties pursuant to the 2001 TRI Stockholders Agreement in
restricting certain transfers to Genger family members was to ensure that (a) Arie, personally,
would continue to.have management and majority shareholder voting control over TPR’s TRI
shares for the duration of his life, and (b) prevent any other Genger family member from having
any management or voting control over TRI during Arie’s lifetime;

Gi) pursuant to the terms of the Stipulation of Settlement and the 2004 TPR-TRI
Transfer Documents Arie, Dalia, Orly and Sagi, specifically intended to preserve Arie’s
management and voting control of TRI, in the context of resolving the equitable distribution of

marital property issues concerning TPR raised in the Genger Divorce Action;

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(iii) that as a condition for Arie transferring bis 51% interest in TPR to Dalia in
the Genger Divorce Action, it was Intended that pursuant to the Stipulation of Settlement and
2004 Transaction Documents Arie would receive valid Putative Irrevocable Proxies and Back-up
Voting Trust Agreements from the Sagi Trust and the Orly Trust designed to ensure that Arie
would retain voting control over a majority of TRI shares for the duration of his life even if the
Putative Irrevocable Proxtes were held to be invalid; and

(iv) that if the 2004 TPR transfer of TRI shares were voided, as threatened by the
Trump Group, then:

(a) 52.85% of TRI shares would revert to TPR, which would be
unjustly enriched because TPR, under the Stipulation of Settlement and implementing 2004
Transaction Documents, had already divested itself of those TRI shares in consideration of Arie
relinquishing his 51% ownership of TPR to Dalia;

(b) that Arie would be the beneficial owners of such 3000 TRI Shares, and
Arie would have the right to vote the 52.85% of TRI shares that were returned to TPR, subject to
the Orly and Sagi Trust rights to receive certain of these shares upon Arie’s death;

(c) Sagi was not authorized to act on behalf of TPR to sell any of the
TRI shares without the consent of Arie as the beneficial owner of the Arie TRI Shares, and the
beneficial holder of the voting rights to TPR’s TRI Shares;

(d) Arie would be entitled to reform the Stipulation of Settlement,
pursuant to the express terms of the Stipulation of Settlement, so that Arie would regain control

of 51% of TPR’s ownership and control of 52.85% of TRI’s shares;

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(e) that the New York Supreme Court under the Judgment of Divorce, had
retained jurisdiction over Arie and Dalia in connection with enforcing the terms of the
Stipulation of Settlement, including Arie’s reformation claims; and

ey) TPR, under Sagi’s control, was not authorized to sell TRI shares to
the Trump Group without the consent of Arie, as beneficial owner of TPR’s record ownership of
the TRI shares, in the event the 2004 Transfers were held to be invalid;

(v) that if the Putative Irrevocable Proxies (Exhibit D) were held to be invalid,
that the Sagi and Orly Trust shares would be subject to the Back-Up Voting Trust Agreement
Exhibit E) which was referred to in the 2004 Voting Trust Agreement (Exhibit C). _

105. Nevertheless, on August 8, 2008, the Trump Group, in furtherance of their plan to
pressure Arie and take over a majority contro] of TRI, sent a letter to TPR asserting that it bad
the right under Section 3.2 of the 2001 TRI Stockholders Agreement to purchase all of the TRI
shares that were the subject of the Stipulation of Settlemént transfers in 2004, at 2004 prices — a
small fraction of what is believed to have been a TRI value in excess of $1 billion in 2008, which
had net after-tax income in excess of $150 million in that year. The Trump Group provided no
such letter or notice to Orly or the Orly Trust or the Sagi Trust.

106. Three days later, on August 11, 2008, the Trump Parties, through Glenclova,
commenced an action in the Federal District Court of the Southern District of New York against
TPR (the “Federal Action”) claiming that the transfer of the TRI shares by TPR to Arie Genger,
the Orly Trust and the Sagi Trust pursuant to the express terms of the Stipulation of Settlement

and 2004 Transaction Documents, was void.

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107. Notwithstanding the Trump Parties’ respective specific knowledge in 2008 of the
existence and terms of the Court-ordered Stipulation of Settlement and the 2004 TPR Transfer
Documents, the Trump Group did not name Arie, Dalia, the Sagi Trust or the Orly Trust as
parties in the Federal Action.

108, The Trump Parties knew at the time they commenced the Federal Action that Arie
was 4 known third party beneficiary under the 2001 TRI Stockholders Agreement and that the
2004 Transfers were approved in a Court-Ordered Stipulation of Settlement in the Genger
Divorce Action, but nevertheless opposed Arie’s motion to intervene in the Federal Action.

109, The Trump Parties also knew that Sagi, as a result of the Stipulation of Settlement
and 2004 TPR Transfer Documents, became the president of TPR, but that he had since become
estranged from his father, and that Sagi had installed his mother-in-law Rochelle Fang as the
nominal trustee of the Sagi Trust and that he exercised total dominion and control over her.

110. The Trump Parties also knew that if the 2004 TPR transfers of TRI shares to Arie,
the Sagi Trust and the Orly Trust pursuant to the “So-Ordered” Stipulation of Settlement and
2004 Transfer Documents were voided, that Arie’s transfer of his 51% ownership in TPR to
Dalia would also have to be voided, and that as a consequence Dalia, or Sagi as her successor-in-
interest, as a matter of New York law, would have to hold this 51% TPR interest ina
constructive trust for the benefit of Arie with respect to TPR’s ownership of the TRI Shares.

111. The Trump Parties knew that neither TPR, nor Sagi as its President, would be
authorized to sel] any of TPR’s shares of TRI to the Trump Group in the event that the 2004 TPR

Transfers of TRI Shares to Arie, the Sagi Trust or the Orly Trust were voided because in that

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event those TRI shares would be returned to TPR subject to a constructive trust for the benefit of
Arie,

112. Prior to August 22, 2008, the Trump Group also knew that in the event that the
2004 transfers by TPR of TRI Shares to Arie, the Sagi Trust or the Orly Trust were voided, Sagi,
as the President of TPR, also owed a separate fiduciary duty to Arie and the Orly Trust with
respect to the 3000 TRI shares that would revert to TPR.

113. TPR and Sagi each had a fiduciary and contractual duty to Arie to hold any TRI
shares that reverted to TPR in a constructive trust for their respective benefits as the beneficial
owner of such shares, and also owed a fiduciary duty to Orly and the Orly Trust with respect to
her interest in a portion of these shares.

114. Nevertheless, in August, 2008, the Trump Group met, conspired and schemed
with Sagi and/or his representatives to contrive a plan to offer Sagi approximately $26.7 million
to induce Sagi to cause the Sagi Trust, through his mother-in-law Fang, to transfer to the Trump
Parties the Sagi Trust’s 19.425% of TRI shares that the Sagi Trust received pursuant to the
Stipulation of Settlement and 2004 TPR Transaction Documents. This $26.7 million payment
was a fraction of the value of those shares at that time given the performance of TRI which, in
2008 had after tax earnings of $150,000,000 of sales of approximately $1 billion.

115. As part of this conspiracy and scheme, the purchase of the Sagi Trust Shares was
to be conditioned on Sagi, purportedly as the President of TPR, further agreeing that if the Court
in the Federal Action, or any other court, held that the 2004 TPR Transactions were void, then
TPR would be “deemed” the Seller of the Sagi Shares, even though the Sagi Trust could keep the

$26.7 million, and even though TPR had no right or authority to sell the Arie, the Sagi Trust and

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Orly Trust Shares without the consent of Arie as beneficial owners of these respective shares,
subject to Orly’s interest to receive the Orly Trust TRI Shares upon Ane’s death, and Arie’s
beneficial interest in the voting rights for the Sagi Trust, Orly Trust and Arie TRI Shares.

116. The Trump Group defendants knew that if the $26.7 million purported purchase
price of the Sagi Trust Shares was paid to the Sagi Trust that the money would need to be
returned to TPR.

117. The Trump Group defendants knew that Sagi, on behalf of TPR was not
authorized to sell the Sagi Trust Shares, in the event the 2004 Transfers were declared invalid.

118. The Trump Group defendants never sought or received a representation by TPR
or Sagi that Sagi, on behalf of TPR was authorized to sell any TRI Shares to the Trump Group.

119. The Trump Group defendants knew that Sagi on behalf of TPR was not
authorized to sell any of TPR’s TRI shares to the Trump Group in the event that the 2004 Shares
reverted to TPR that Sagi and TPR had a fiduciary and contractual duty to protect Arie’s control
overt the 52.85% of TRI Shares for the duration of his life.

120. The Trump Group did not obtain a representation from Sagi or TPR as to whether
any sale by the Sagi Trust or TPR would be subject to Arie’s right to vote those Shares for the
duration of his life in accordance with the terms of the Court-ordered Stipulation of Settlement
and the 2004 Transaction Documents.

121. As part of this conspiracy and scheme the Trump Parties also required that in
order for Sagi to get the $26.7 million put in his Trust, Sagi purportedly as the President of TPR
would have to further agree in a “side letter” that if the Court in the Federal Action, or any other

court, held that the 2004 TPR Transactions were void, then TPR would also agree to sell the 14%

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Arie TRI shares and the 19.425% Orly Trust Shares, which TPR had already sold to Arie and the
Orly Trust pursuant to the Stipulation of Settlement and the 2004 Transaction Documents, to the
Trump Parties at a price that was 60% less than the price per share to be paid to the Sagi Trust.
Again, Sagi had no authority to make this sale on behalf of TPR.

| 122. As part of the same conspiracy and scheme, the Trump Parties also insisted that
neither the Sagi Trust nor TPR take any action to protect the voting rights of Arie that were
granted to Arie by the Sagi Trust and the Orly Trust under the 2004 Voting Trust Agreements in
accordance with the 2004 TPR Transfer Agreement.

123. To induce Sagi to sell the Sagi Trust Shares to the Trump Parties, the Trump

Group proposed a scheme and conspiracy that the Trump Parties knew would require Sagi to use
his position as President of TPR to obtain a personal benefit by having $26.7 million paid to his
Sagi Trust, while selling out Arie’s and the Orly Trust’s TRI shares for a fraction of their real
value in an obvious breach of Sagi’s fiduciary and contractual duties to Arie and the Orly Trust,
which breaches of duty arose from, among other things, (i) Sagi’s self-dealing transactions as an
officer of TPR to get $26.7 million from the Trump Group for his Sagi Trust shares while at the
same time and at the expense of Arie and the Orly Trust agreeing to sell their TRI shares at a
price per share that was 60% lower than the deal Sagi was making for himself through the sale of
the Sagi Trust shares to the Trump Parties, (ii) ignoring Arie’s and the Orly Trust’s beneficial
interest in the value of TPR’s ownership of specific TRI stock that TPR had already transferred
to Arie and the Orly Trust for valuable consideration pursuant to the Stipulation of Settlement
and the 2004 TPR Transaction documents; (sii) inducing Fang as the Trustee of the Sagi Trust to

violate the 2004 Voting Trust Agreement with Arie; (iv) inducing the trustees of the Orly Trust

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to violate their fiduciary obligations to the Orly Trust and Orly; (v) failing to protect Arie’s
voting rights to 52.85% of TRI shares in accordance with the express intent and provisions of the
Stipulation of Settlement and the 2004 Transaction Documents; (vi) disposing of and
substantially devaluing the asset value of TPR’s ownership of TRI shares, with knowledge that
such shares would be subject to Arie’s claims for imposing a constructive trust on such shares,
reformation and/or rescission under the terms of the Stipulation of Settlement with respect to
restoring Arie’s rights to a 51 % ownership of TPR insofar as TPR’s ownership of TRI shares
was concerned; (vii) failing to disclose to Arie, Orly, or the Orly Trust the terms of the Trump
Parties’ proposed scheme and plan to purchase the same TRI shares that TPR previously sold to
Arie and the Orly Trust under the Stipulation of Settlement and 2004 TPR Transfer Agreement,
(viii) failing to take all actions necessary to comply with the stated intentions of the parties to the
Stipulation of Settlement and 2004 Transaction Documents, and (ix) entering a self-interested,
unauthorized, ultra-vires agreement, ostensibly on behalf of TPR but in reality using his position
as President of TPR for his own personal gain to the detriment of Arie’s and the Orly Trust’s
legal and equitable interests in TPR’s ownership of the TRI shares that were transferred to each
of them by TPR four years earlier, pursuant to the Stipulation of Settlement and 2004
Transaction Documents.

124. In furtherance of this scheme and conspiracy, the Trump Parties, the Sagi Trust,
by Rochelle Fang, and Sagi, purportedly on behalf of TPR, executed a 2008 Stock Purchase
Agreement with the Sagi Trust without the knowledge or consent of Arie or the Orly Trust, to

sell the 1102.80 Sagi Trust Shares of TRI common stock representing 19.425% of the shares of

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stock to the Tramp Group and two new entities - TR I and TR Hi — for $26,715,416.00. (“2008
Stock Purchase Agreement”, attached hereto as Exhibit F).

125, When combined with the Trump Parties’ minority share of 47.15 %, this Sagi
Trust sale would give the Trump Parties a 66.575% majority and controlling voting interest in
TRI, in direct derogation of the intent of the Court-Ordered Stipulation of Setilement and the
Putative Irrevocable Proxies and 2004 Voting Trust Letter Agreement,

126. The Trump Parties acknowledged the existence of the Putative Irrevocable
Proxies and 2004 Voting Trust Letter Agreement in the 2008 Stock Purchase Agreement,
representing and warranting that:

“Such Purchaser hereby acknowledges receipt of copies of the
irrevocable proxy dated as of October 29, 2004, issued by Seller
(“Sagi Trust”] in favor of Arie Genger with respect to the shares
(the “Proxy”), a backup form of voting trust agreement and voting
trust certificate delivered in connection with the Proxy and the

Letter Agreement dated October 29, 2004 [2004 Voting Trust
Letter Agreement] with respect to the transfer of shares from TPR

to Seller” :

127. The 2008 Stock Purchase Agreement also states that if the 2004 transfer of TRI
sires by TPR to the Sagi Trust were determined to be void and the shares returned to TPR then
TPR would be deemed the seller of the Sagi Trust Shares to the Trump Parties for $26.7 million,
even though this $26.7 million would have already been paid to the Sag Trust controlled by Sagi
through his mother-in-law Fang. There was no provision with respect to the reallocation of the

sales proceeds to TPR.

128. The 2008 Stock Purchase Agreement violated the terms of the 2001 Stockholders

Agreement, including, but not limited to, Section 3.2 of that Agreement.

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129. By entering into the 2008 Stock Purchase Agreement, the Trump Group
voluntarily and intentionally waived any right to purchase the Sagi Trust Shares under the 2001
Stockholders Agreement.

130. Also through its intentional conduct,.including its violation of the 2001
Stockholders Agreement, the Trump Group is estopped from utilizing any purported right to
purchase under the 2001 Stockholders Agreement.

131. Inaddition, Sagi, ostensibly acting for TPR, but without authority and in violation
of his contractual, legal and fiduciary duties owed to Arie and Orly, signed a side letter on the
very same day as the 2008 Stock Purchase Agreement that provides that if the 2004 transfer by
TPR of TRI Shares to Arie and the Orly Trust under the Stipulation of Settlement and 2004
Transaction Documents were declared void, then Sagi, purportedly on behalf of TPR, would
transfer the Arie Shares and Orly Trust Shares to the Trump Parties at a price per share 60% per
share lower than the Sagi Trust was to receive under the 2008 Stock Purchase Agreement, which
would then be deemed a sale by TPR (“2008 Stock Purchase Side Letter Agreement”, attached
hereto as Exhibit G).

132. The terms of both the 2008 Stock Purchase Agreement and the Side Letter
violated the 2001 Stockholders Agreement, including, but not limited to Section 3.2 of the 2001
Stockholders Agreement. |

133. The Trump Group defendants waived, and are estopped from asserting, any right
under the 2001 Stockholders Agreement to purchase the Arie and Orly Trust TRI Shares from

TPR.

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134. Neither Arie on behalf of TRI or the Board of Directors of TRI approved the
transaction set forth in the 2008 Stock Purchase Agreement and Side Letter.

135. This Side Letter was not only an insidious requirement mandated by the Trump
Parties to get a majority interest in TRI for the first time, but was tantamount to a $26.7 million
bribe offered by the Trump Parties to Sagi, the estranged son of Arie, to betray his father and rob
his sister of the true value of their respective legal and equitable interests in the TRI stock
previously owned by TPR in order for the Trump Group to completely squeeze out Arie and the
Orly Trust at unconscionably low prices.

136. Atthe time the Trump Parties, TR-I and TR I], the Sagi Trust and Sagi
purportedly on behalf of TPR, executed the 2008 Steck Purchase Agreement, the Trump Parties
also knew that if the 2004 transactions were voided, TPR, Sagi, the Sagi Trust and the Trump
Parties would all be unjustly enriched by the 2008 Stock Purchase Agreement and Side Letter,

137. The Trump Parties also knew that if the 2004 TPR Transfers of TRI shares to
Arie, the Sagi Trust and the Orly Trust were voided, that these TR] shares recovered by TPR
would be the subject of a constructive trust established for the benefit of Aric, the Orly Trust and
the Sagi Trust.

138. -The Trump Parties, Sagi, and the Sagi Trust knew that Sagi, as an officer and
director of TPR, owed a fiduciary duty to Arie, the Orly Trust, and the Sagi Trust, not to devalue
or alienate Arie’s and the Orly Trust’s beneficial ownership of TPR insofar as TPR’s ownership
of the TRI shares was concerned, and not to strip Arie of his voting rights with respect to these

TRI Shares.

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139, The Trump Parties, Sagi and the Sagi Trust knew at the time they executed the
2008 Stock Purchase Agreement that pursuant to the Court —Ordered Stipulation of Settlement,
Arie had a contractual right to seek to reform the terms of the Stipulation of Settlement in order
to give full effect to the intent of the parties with respect to his relinquishment of contro] in TPR
in exchange for Arie’s continuing control of 52.85% of TRI shares and outright ownership of
14% of TRI’s stock, as a permitted transferee.

140. The Trump Parties, Sagi, and the Sagi Trust knew at the time they executed the
2008 Stock Purchase Agreement and Side Letter that Arie was entitled to rescission for failure of
consideration of that part of the Stipulation of Settlement that transferred his 51% of TPR to
Dalia, in exchange for Dalia’s agreement to have TPR concurrently transfer 14% of TRI’s shares
to Arie outright, and that Arie would maintain voting control, or 52.85% of TRI for the duration
of his life.

14]. Inconnection with the 2008 Stock Purchase Agreement and in furtherance of the
pian and scheme to wrest control of TRI from Arie’s control, the Trump Parties aided and
abetted the preparation of a sworn affidavit swearing that the Sagi Trust shares had been lost,
when the Trump Parties knew that was not a true statement.

J. The Trump Parties Declare Themselves The Majority Owners Of TRI, and

Commence An Action In The Delaware Chancery Court To Determine The
Composition of TRI’s Board of Directors

142. On August 25, 2008, only three days after the 2008 Stock Purchase Agreement
and 2008 Stock Purchase Side Letter Agreement were executed, the Trump Group asserted that it
was in control of TRI through the acquisition of 1102.80 shares that were purportedly transferred

to them by the Sagi Trust.

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143. On August 25, 2008, the Trump Parties commenced a Chancery Court in rem
summary proceeding in the State of Delaware pursuant to 8 Del.C § 225(a) to determine the
composition of the Board of Directors of TRI (“The Delaware Action”) and to declare, inter alia
that:

i. the Trump Parties are the majority shareholders of FRI and have the right to vote

all of its shares including the shares which were allegedly purchased pursuant to
the Stock Purchase Agreement;

li, the 2004 transfers to Arie Genger, the Sagi Trust and the Orly Trust are void and
continue to belong to TPR; and

iil. that the Putative Irrevocable Proxies do not apply to the shares transferred
pursuant to the Stock Purchase Agreement.

144. Neither TPR, the Sagi Trust, nor the Orly Trust were a party to the Delaware
Action, although TPR was given an opportunity to participate in that action, and refused to do so,

145. The Trump Group as interested Directors in control of TRI had a fiduciary and
legal duty to authorize the appointment of separate, independent counsel for TRI in connection
with the Delaware proceeding and otherwise with respect to determining the beneficial and
record ownership of the Arie, Orly Trust and Sagi Trust TRI shares.

K. The July 23, 2010 Opinion of the Delaware Chancery Court
146. On July 23, 2010 the Delaware Chancery Court issued a lengthy written decision

which held that the transfers of TPR’s TRI shares to Arie, the Sagi Trust and the Orly Trust
pursuant to the Stipulation of Settlement and 2004 Transaction Documents were void and
ownership reverted to TPR and that TPR’s sale of the Sagi Trust TRI Shares to the Trump Group

pursuant to the 2008 Stockholders Agreement was valid.

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147. The Chancery Court also held that the Sagi Trust Irrevocable Proxy was not valid
under New York or Delaware law. The Chancery Court in this § 225 proceeding held that the
Trump Group was entitled to elect a majority of TRI Board members.

148. While voiding the 2004 Transfers, however, the Chancery Court in this July 23
decision also held that because Arie was a “permitted transferee” under the 2001 TRI
Stockholders Agreement, the transfer of the TRI shares to him did not warrant a forfeiture of
Arie’s TRI Shares.

149, Because Arie was a permitted transferee of the TRI shares owned by TPR (a
Genger family holding company that Arie had created) the Trump Group would have no right to
stop the transfer of these TPR TRI shares to Arie once it received contractual notice and Arie
agreed to be personally bound by the TRI Stockholders Agreement.

150. Under the Delaware Chancery Court’s July 23 decision, Arie would retain his TRI
shares once he gave formal notice of TPR’s 2004 transfer and agreed to be bound by the 2001
TRI Stockholders Agreement, which Arie promptly agreed to do shortly thereafter.

ISL. In its July 23, 2010 decision, the Court of Chancery also held that because neither
Orly nor the Orly Trust were parties to the Delaware Chancery Court action, the Delaware Court
declined to issue any ruling with respect to the Orly Trust TRI Shares.

L. The July 26, 2010 TRO in this New York Action
152. Based on the July 23, 2010 Chancery Court decision, Arie and Orly sought and

obtained a temporary restraining order from this Court, restraming Sagi and TPR from selling or
encumbering the Arie and Orly Trust TRI shares. This ternporary restraining order was granted

on July 26, 2010 and extended by this Court on July 28, 2010.

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Mz. The August Opinion of the Delaware Chancery Court

153. After being advised by the Trump Group of plaintiff being granted a TRO im this
New York Action, the Delaware Chancery Court indicated that it would reexamine its rulings
with regard to the Arie and Orly Trust TRI shares, and expressed concem about whether the New
York TRO was designed to undermine its-ruling in the Delaware Court, which it was not.

154. On August 3, 2010, to allay the Court of Chancery’s concems, Arije’s counsel in
this case wrote to this Court advising that because defendants Sagi and TPR had agreed to abide
by a status guo order entered by the Delaware Chancery Court, which provided that Arie would
be given notice in the event TPR or Sagi intended to sell the Arie and Orly TRI Shares to the
Trump Group, it was agreed among counsel for TPR, Sagi, Dalia and the plaintiffs, that the
temporary restraining order would be vacated and plaintiffs in this action would accordingly
withdraw their application for a preliminary injunction, without pre} udice,

155. On August 9, 2010, the Chancery Court made an abrupt “about face” regarding its
determination earlier relating to the Arie and Orly Trust TRI Shares. In this second opinion, the
Delaware Chancery reversed itself regarding the ownership of the Arie and Orly Trust Shares,
and held that the Trump Group had the right to purchase the Arie and Orly Trust TRI shares from
TPR under the 2008 Side Letter Agreement, even though the Court had held only two weeks
earlier that Arie was a permitted transferee under the Stockholders Agreement and should be
perinitted to keep his shares, and that the Orly Trust was never a party to the § 225 proceeding.
The Chancery Court also held that Arie and the Orly Trust had no beneficial interest in the Arie
and Orly Trust TRI shares—even though TPR, Sagi, the Sagi Trust and the Orly Trust were

never parties to the Delaware § 225 proceeding.

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N. The Delaware Chancery Court’s Final Judgement Order of August 18, 2010
156. OnAugust 18, 2010, the Delaware Chancery Court entered a Final Judgment

Order which found (i) that TPR’s 2004 transfers of the Arie TRI Shares, and the Orly Trust TRI
shares were void under the 2001 TRI Stockholders Agreement, (ii} that title to the Sagi Trust
TRI Shares, the Orly Trust TRI Shares and the Arie TRI Shares, all reverted to TPR; (iii) that the
Irrevocable Proxy for the Sagi Trust was not valid; (iv) that the sale of the Sagi Trust TRI shares
by Sagi on behalf of TPR was valid; (v) that the Side Letter was a valid agreement; and (vi) that
Arie and the Orly Trust had no beneficial or legal ownership interest in the Arie and Orly Trust
TRI shares.

157. There was no discussion or finding in the Chancery Court Decision as to whether
Sagi was authorized to sell the Arie, Orly and Sagi Trust TRI Shares out of TPR.

158. In addition to these holdings, the Chancery Court entered an anti-lawsuit
injunction, which prohibited Arie from “commenc[ing] or prosecut[ing] any legal proceeding . .
. in any [state] court [including the action in this Court which had already been commenced]
constituting a collateral attack on, attempt to prevent implementation of, or relitigation of any of
the [Chancery] Court’s holdings set out in paragraphs 2 through 16 inclusive (summarized
above), of this final judgment order” pending a determination of an appeal to the Delaware
Supreme Court, with certain limited exceptions, but even the Chancery Court specifically
recognized Arie’s right to apply to this Court to seek to escrow the proceeds from TPR’s
impending sale of the Arie TRI Shares to the Trump Group, as follows:

“Arie Genger shall have the right to seek an order from a court of
competent jurisdiction requiring TPR Investment Associates, Inc.
and its officers and directors to place in escrow the proceeds of

sale of the shares of TRI referenced in paragraph 14 of this Order.
[the “Arie TRI Shares”].”

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Oo. Arie Appeals From the Chancery Court’s Final Judgment Order
159. Arie timely appealed from the Chancery Court’s rulings, arguing, inter alia, that

(i) the Trumps ratified the 2004 transfers, as a matter of law; (ii) the Irrevocable Proxy was valid
under New York law; and (iii) the Delaware Chancery Court had no jurisdiction to determine the
ownership of the Arie and Orly TRI shares or the validity of the Side Letter.

160. Under threat of contempt, Arie agreed to stay this case pending a final
determination by the Delaware Supreme Court.

P. The Purported Sale by TPR of the Arie and Orly Trust TRI Shares
161. While Arie’s appeal was pending, Arie was informed that TPR, without Arie’s

consent or approval, intended to sell the Arie TRI shares to the Trump Group for $7,424,994.

162. While the Trump Group and TPR agreed to hold $5,924,944 of these sale
proceeds in escrow pending a determination by the Delaware Supreme Court relative to the
ownership of the Arie and Orly Trust TRI shares, Sagi, as the CEO of TPR, insisted that TPR
was entitled to keep and spend the $1.5 million of the proceeds from the sale of the Arie TRI
shares, notwithstanding the pending appeal challenging the Chancery Court’s rulings relating to
the ownership of the Arie and Orly Trust TRI Shares.

163. While the appeal to the Delaware Supreme Court was pending, TPR, without the
consent or approval of Arie or Orly, also entered into an agreement to sell the Orly Trust TRI
Shares to the Trump Group for $10,314,005, with the proceed to be held in escrow by counsel
for Dalia as the nominal trustee of the Orly Trust.

164. The Trump Group as interested Directors in control of TRI had a fiduciary and
legal duty to authorize the appointment of separate, independent counsel for TRI in connection
with the Delaware proceeding and otherwise with respect to determining the beneficial and

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record ownership of the Arie, Orly Trust and Sagi Trust TRI shares prior to TRI recording the

transfer of the Arie and Orly Trust Shares to the Trump Group in 2010.

 

 

165. Neither Sagi nor TPR had any authority to sell the Arie or Orly Trust Shares to
the Trump Group.
Q. This Court Enjoins TPR and Sagi From Taking or Using the $1.5 million
Sale Proceeds From the Purperted TPR Sale of the Arie Shares to the Trump
Group ,
166. Arie moved by Order to Show Cause to restrain and enjoin Sagi and TPR from

using or disposing of the $1.5 million sale proceeds that were about to be released to TPR, and

requested that these specifically identified funds be placed in an acceptable escrow account or

paid into Court. This Court by its February 17,2011 Decision and Order decreed as follows:

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167,

“ORDERED that the defendants Sagi Genger and TPR
Investment Associates, Inc., and their agents, servants, employees
and all other persons acting under the jurisdiction, supervision
and/or direction of the defendants, are enjoined and restrained,
during the pendency of this action, from doing or suffering to be
done, directly or through any attorney, agent, servant, or employee
or other person under the supervision or control of the defendants,
from taking, using, or spending or converting to their own use
otherwise, the $1.5 million proceeds from the sale of certain
common stock in Trans-Resources, Inc. in which plaintiff claims
an interest”

The Decision of the Delaware Supreme Court
On July 18, 2011, the Delaware Supreme Court reversed that part of the Delaware

Chancery Court’s Judgment that held that Arie and the Orly Trust were not the beneficial owners

of the Arie and Orly Trust TRI Shares.

168.

On Arie’s appeal the Delaware Supreme Court described the limited nature of the

§225 proceeding as follows:

A Section 225 proceeding is not an in.personam action.
Rather, it is “in the nature of an in rem proceeding,” where the

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“defendants” are before the court, not individually, but rather, as
respondents being invited to litigate their claims to the res (here,
the disputed corporate office) or forever barred from doing so.

OK

[For example] in a Section 225 proceeding the court “cannot go
further and actually rescind a transaction procured through such
unlawful behavior or award money damages to those harmed by
that behavior.” That type of ulate relief can only be obtained in
a plenary action in a court that has in personam jurisdiction over
any necessary or indispensable parties.

169. Further explaining the limited holding of the Delaware Chancery Court, the

Delaware Supreme Court held:

Given the jurisdictional limitations that inhere in a Section 225
action, we affirm the judgment of the Court of Chancery insofar as
it determines the record [emphasis in original] ownership of the
disputed Trans-Resources shares in the Side Letter Opinion and the
Final Judgment Order.

Oe
An adjudication of who has the right to vote disputed corporate
shares for Section 225 purposes cannot constitute a binding
adjudication of who beneficially owns those shares, because a
Section 225 action is by its nature an in rem, not a plenary,
proceeding. Only in a plenary proceeding before a court that
has é# personam jurisdiction over the litigants may the court
adjudicate the litigants’ property interest in disputed
corporate shares. ,

(Emphasis added)

170. . The Delaware Supreme Court also held that the issue of ultimate beneficial
ownership of the Arie TRI Shares and the Orly Trust TRI Shares was beyond the equity
jurisdiction of the Chancery Court in the summary § 225 in rem proceeding, and that the issue of
the beneficial ownership of those shares needed to be adjudicated in a plenary action in a

jurisdiction where the Court has in personam jurisdiction over all indispensible parties. These

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necessary parties -- Aric, TPR, Sagi, Orly, the Orly Trust and the Trump Group -- are all parties
to this New York action , and have been served and have appeared in this case.

171. The Delaware Chancery Court’s holdings were limited to an in rem proceeding to
determine who held the record ownership of the shares at a point in time in order to determine
voting rights to elect members of the TRI Board based on the record owners of those shares at
the time of the election.

172. The Delaware Chancery Court was without jurisdiction to determine the ultimate
ownership of the Arie and Orly Trust TRI shares or any of the tort claims asserted by Plaintiffs
in this action. Nor did the Delaware Chancery Court have jurisdiction to determine Arie’s claims
for rescission, unjust enrichment, constructive trust or reformation arising from and in
connection with the Court-ordered Stipulation of Settlement, the 2004 Transaction Documents,
or the authority of Sagi to act on behalf of TPR.

173. The Delaware Supreme Court affirmed that portion of the Chancery Court ruling
that held that TPR’s 2004 transfers of TRI shares pursuant to the Stipulation of Settlement in the
Genger divorce and implementing 2004 TPR Transaction Documents violated the 2001 TRI
Stockhelders Agreement and were void ab initio, for the purpose of the Delaware § 225

proceeding to determine composition of the TRI Board.

FIRST CAUSE OF ACTION ON BEHALF OF PLAINTIFF ARIE GENGER

(For a Declaratory Judgment Under CPLR 3001 that the
Stipulation of Settlement Entitles Plaintiff Arie to a
Court-Ordered Reformation of the Terms of the Stipulation
of Settlement as Against All Defendants)

174. Plaintiff repeats and re-alleges the allegations in paragraphs 1 through 173.

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175. Article XVI of the Stipulation of Settlement provides that the parties to the
Stipulation of Settlement have a right to seek court-ordered reformation in a New York court in
order to reflect the parties’ original intent in the event a portion of the “So-Ordered” Stipulation
of Settlement is held to be invalid for any reason.

176. The concurrent transfer of Arie’s ownership of his 51% interest in TPR in
consideration of receiving a 14% interest in TRI and the right to control the voting rights of
52.85% of TRI Shares for the duration of Arie’s life was an essential, fundamental condition of
the transfers of TPR and TRI shares set forth in the Court-Ordered Stipulation of Settlement.

177. The Delaware Chancery Court, as affirmed by the Delaware Supreme Court, held
that TPR’s 2004 transfers of 52.85% of the shares of TRI Stock under the Stipulation of
Settlement and 2004 TPR Transfer Documents were invalid and void ab initio, and that the
Putative Irrevocable Proxies were invalid.

178. The provisions of the Court-Ordered Stipulation of Settlement relating to the
transfer of ownership of TPR in consideration of the 2004 Transfers were based upon the mutual
mistake of Dalia and Arie that the 2004 Tiansfers and Irrevocable Proxies were valid.

179. The Court-Ordered Stipulation of Settlement specifically provides that the parties
agree that if any of the terms of the Stipulation of Settlement is declared invalid by any court of
competent jurisdiction for any reason, Arie is entitled to seek an Order from this Court to reform
the Stipulation of Settlement, or obtain such other equitable or legal relief as is necessary to give
full meaning and expression to the original intent of the parties to the Court—Ordered Stipulation

of Settlement.

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180. Arie is entitled to an Order of the New York Supreme Court to reform the terms
of the Court-Ordered Stipulation of Settlement to reflect the parties’ original intent to the
greatest extent possible.

181. Accordingly, Arie seeks an Order and declaratory judgment to reform the Court-
Ordered Stipulation of Settlement to provide as follows:

(a) That the transfer by Arie of his 51% interest n TPR to Dalia and the
concurrent transfer of the 3000 shares of TRI stock to Arie, the Orly Trust and the Sagi Trust,
respectively, as originally set forth in the Stipulation of Settlement is voided ab initio as a result
of the Delaware Court finding that the 2004 Transfers are invalid;

Gi) __ that all the assets of TPR, other than the 3000 Arie, Orly Trust and Sagi
Trust TRI shares, remain the property of TPR or any successor in interest to those assets;

(iii) that pursuant to a further order of this Court the Court-Ordered Stipulation
of Settlement is modified gb initio to provide that the 3000 shares of TRI common stock that
were returned to TPR as a result of the Delaware Court Action voiding the original 2004
Transfers be placed in a newly formed single purpose entity controlled by Arie (“TPR2”);

(iv) that Arie be declared the 51% owner of TPR2, which in turn shall be
declared, ab initio the record and beneficial owner of all of such 3000 TRI shares, as though no
2004 Transfers were consummated under the original terms of the Stipulation of Settlement;

(v) that the Orly Trust and Sagi Trust each be declared the owner of 24.5% of

TPR2 so that together they own the remaining 49% of TPR2;

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(vt) that TPR2 shall not sell or transfer the 3000 TRI shares prior to Arie’s
death, unless such sale would be otherwise permitted and would not violate the terms of the 2001
Stockholders Agreement including, but not limited te, Article 2 of such agreement;

(vii) upon Arie’s death, 1102.8 of TRI shares, plus any stock dividends relating
thereto (“the Sagi Trust TRI Shares”) will be transferred by TPR2 outright to the Sagi Trust, and
1102.8 of TRI shares plus any stock dividends relating thereto (“the Orly Trust TRI Shares”) will
be transferred outright to the Orly Trust;

(viii) All cash dividends relating to the Sagi Trust and the Orly Trust TRI
Shares recerved by TPR2 during Arie’s lifetime will be distributed, after payment of
taxes and expenses to the Shareholders of TPR2, as rf (a) Arie owned 794.40 shares,
representing 13.99468% of the common stock of TRI, and (b) the Sagi Trust and the Orly
Trust each owned 1102.8 shares, representing 19.42766% of TRI common stock;
(ix) Arie through his 31% control of TPR2 will retain all voting rights to the
3000 TRI shares and any additional TRI shares issued to TPR or TPR2 as stock dividends or
otherwise for the duration of hits life.
(x) The Trump Group shall deliver to TPR2 the 1102.8 shares of TRI
common stock purportedly purchased under the 2008 Stock Purchase Agreement.
182. The $26,715,416.00 paid by the Trump Group to the Sagi Trust under the 2008
Stock Purchase Agreement will be returned to the Trump Group by TPR and the Sagi Trust.
183. The Trump Group shall deliver to TPR2 the 794.40 Arie and the 1102.8 Orly
Trust TRI shares purportedly sold to TPR under the Side Letter Agreement and 2010

Transaction.

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184, The purported sales by TPR of the Arie and Orly Trust TRI shares to The Trump
Group, while the Delaware Supreme Court appeal was pending, will be declared null and void,
and the proceeds from these purported sales now held in escrow will be released to The Trump
Group.

185. TRI shall record on its books that TPR2 is the record owner of 3000 shares of TRI
Common Stock, representing 52.85% of the issued common stock of TRL

186. TPR2 will consent to the terms of the 2001 Stockholders Agreement.

187. Arie, Orly, Dalia, Sagi, TPR and TRI shall be directed to take all other necessary
action and fo execute all documents necessary to give full meaning to the intention of the parties
te the Court Ordered Stipulation of Settlement in light of the ruling of the Delaware court that
the 2004 Transfers were invalid.

188. There is a justiciable controversy.

189. There is no adequate remedy at law.

SECOND CAUSE OF ACTION ON BEHALF OF ARIE AND ORLY

(For the Imposition of a Constructive Trust against Sagi, TPR, Dalia, the Sagi Trust, Fang,
and the Trump Parties)

190. Plaintiffs repeat and re-allege the allegations in paragraphs | through 189, and

incorporate the allegations contained in paragraphs 209-219,

191. Upon the Delaware Court voiding TPR’s 2004 transfer of 52.85% of TRI shares
to Arie, the Sagi Trust and the Orly Trust, legal title to such TRI shares reverted to TPR subject
to Arie’s rights as a constructive beneficial owner of 51% of the shares of TPR with respect to

TPR’s ownership of 52.85% of TRI shares.

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192. TPR is not entitled, in equity or good conscience, to retain any direct or indirect
benefit resulting from the record ownership of the 3000 shares of TRI stock reverting to TPR as
a result of the ruling of the Delaware courts .

193. TPR would be unjustly enriched at the expense of Arie if it were permitted to
retain any direct or indirect ownership or benefit from the sale of the 3000 shares of TRI stock
because record ownership of such TRI shares reverted to TPR as a result of the Delaware court
rulings.

194. Upon TPR becoming the record owner of Arie’s 794.4 shares of TRI stock as a
result of the Delaware Court rulings, such shares were immediately held in a constructive trust
by TPR for the benefit of Arie as the beneficial owner of those shares.

195. Upon TPR becoming the record owner of the 1102.8 shares of TRI stock
comprising the Orly Trust TRI shares, a constructive trust was Immediately created in favor of
Arie with respect to the Orly Trust TRI Shares, including, but not limited to, the voting rights
appurtenant to such shares, all of which were held by TPR for the benefit of Arie, subject to the
Orly Trust’s right to receive the Orly Trust TRI Shares upon Arie’s death.

196. Upon TPR becoming the record owner of the 1102.8 shares of TRI stock
comprising the Sagi Trust TRI shares, a constructive trust was immediately created in favor of
Ane with respect to the Sagi Trust TRI Shares, including, but not limited to, the voting rights
appurtenant to such shares, all of which were held by TPR for the benefit of Arie, subject to the

Sagi Trust’s right to receive the Sagi Trust TRI Shares upon Arie’s death.

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197, Upon TPR becoming the record owner of all 3000 shares of TRI stock comprising
the Orly Trust Shares, the Sagi Trust Shares and the Arie Shares, TPR held the voting rights to
such 3000 shares in a constructive trust for the benefit of Aric.

198, Arie’s beneficial ownership and voting rights with respect to the 3000 TRI shares,
which were held by TPR in a constructive trust for his benefit, were protected from further
transfer to The Trump Group from the moment record title reverted to TPR.

199. TPR was not authorized to transfer any of the 3000 TRI shares as to which it

became the record owner, without the consent of Arie as the beneficial owner of such TRI

Shares.

200. TPR is not authorized to vote any of the 3000 TRI shares that reverted to TPR as
record owner as a result of the Delaware Court rulings, except at the direction of Arie.

201. The Trump Group are not bona fide purchasers of any of the 3000 TRI shares that
reverted to TPR.

202. The Trump Group was on notice of Arie’s ownership and voting right claims with
respect to the 3000 TRI shares that reverted to TPR, as record owners,

203. The Trump Group knew and were on notice that TPR was not authorized to sell
TPR’s TRI shares without the prior consent of Arie.

204. The Trump Group knew and was on notice that Arie objected to the sale to The
Trump Group of any.of the 3000 TRI shares that reverted to TPR, as record owner under the
2008 Stock Purchase Agreement, the Side Letter Agreement or the 2010 purported sale of the

Arie and Orly Trust TRI shares.

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205. The Constructive Trust in favor of Arie imposed upon the Arie, the Orly Trust
and the Sagi Trust TRI shares existed at the moment record ownership reverted to TPR, and
attaches to any purported sale of these shares to The Trump Group, who were not bona fide
purchasers.

206: The Trump Group, in addition to TPR, would be unjustly enriched if they were
permitted to keep the benefit of the purported sale by TPR of the 3000 TRI shares to The Trump
Group, which sale Sagi was not authorized to enter into on behalf of TPR without the prior
consent of Arie because, inter alia,

(i) the Trump Group would become the owner of the Arie, Sagi Trust and Orly

Trust Shares, over the objection of Arie and without Arie’s required prior permission and
consent;

Gi) the Tramp Group would obtain Arie’s right to vote these shares for the
duration of his lifetime, without Arie’s required prior permission and consent; and
(iii) these shares would be acquired substantially below their true value
without Arie’s required prior permission and consent;
(iv) the purported transaction by TPR was in derogation of Arie’s
beneficial ownership and voting rights appurtenant to such shares; and
(v) the Trump Group are not bona fide purchasers of such shares.

207. Plaintiffs have no adequate remedy at law.

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THIRD CAUSE OF ACTION
ON BEHALF OF ARIE AND ORLY

(Claim for Breach of Fiduciary Duty, Aiding and Abetting Breach of Fiduciary Duty and

Conspiracy to Breach Fiduciary Duty Against Sagi, TPR, the Sagi Trust, Fang, the Trump
Parties and TRD

208. Plaintiffs repeat and reallege the allegations in paragraphs | through 207.

209. Sagi, individually and as an officer of TPR, owed a fiduciary duty of trust,
confidence and loyalty te Arie and the Orly Trust because, among other things, (i) he was
entrusted to manage TPR’s ownership of the TRI shares for the benefit of Arie and the Orly
Trust upon the Chancery Court voiding the 2004 TPR transfers of TRI shares to Arie, the Sagi
Trust and the Orly Trust, and the resulting ownership of such 52.85 % of TRI shares by TPR; (ii)
he was entrusted to manage TPR’s record ownership of the TRI shares for the benefit of Arie and

-the Orly Trust upon the Delaware Chancery Court voiding the 2004 TPR transfer of TRI shares
to Arie, the Sagi Trust and the Orly Trust; (i11) pursuant to the 2004 TPR Transfer Agreement,
Sagi was entrusted to take all actions necessary to ensure that Arie would maintain voting control
of 52.85% of the stock of TRI in accordance with the express intent of all parties to the
Stipulation of Settlement and 2004 TPR Transaction Documents; (iv) through Fang and the Sagi
Trust, as his co-agents and alter egos, Sagi owed a duty of trust and confidence to Arie under the
2004 Voting Trust Agreement; and (v) as the successor to the rights and liabilities of Dalia under
the Stipulation of Settlement and the manager of TPR, as a family holding company, Sagi owed a
fiduciary duty to protect the assets of the Orly Trust for the benefit of his sister Orly and his
father, Arie, in connection with the ownership of TPR, TPR’s ownership of the TRI shares and

D&K’'s minority ownership of TPR.

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210. Asa fiduciary Sagi, individually, and as an officer of TPR, owed a duty of fidelity
and undivided loyalty to Arie, Orly, and the Orly Trust thearding the TRI shares.

211.. Fang, individually and as the trustee of the Sagi Trust, owed a fiduciary duty to
Arie under the 2004 Voting Trust Agreement and Side Letter.

212. The Trump Group, on becoming the majority shareholder of record in TRI, owed
a fiduciary duty of fidelity and loyalty to Arie as the known beneficial owner of record of the
Arie TRI shares.

213. Jules Trump and Mark Hirsch, each individually and on behalf of the Trump
Group, and as Directors of TRI owed a fiduciary duty to TPR, and Arie as the beneficial owner
of TRI shares to read TRI corporate documents presented to him in their entirety and have
knowledge of the shareholders of record of TRI, a close corporation.

214. Sagi, TPR, the Sagi Trust, Fang, the Trump Parties each breached their respective
fiduciary duties as a result of the conduct set forth in the allegations of this complaint, including,
but not limited to their respective conduct in connection with the negotiation, execution and
implementation of the 2008 Stock Purchase Agreement and the Side Letters and the subsequent
transfer of the Arie and Orly Trust TRI Shares.

215. Sagi, TPR, the Sagi Trust, Fang, and the Trump Parties also knowingly aided,
abetted, induced, participated in, enabled and substantially assisted each other to breach each of
the other’s respective fiduciary duties to Arie, Orly and the Orly Trust by the conduct alleged
herein, including but not limited to misrepresenting to the Delaware Chancery Court that the

share certificates for the Sagi Trust TR shares were lost despite having actual knowledge that

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such share certificates were held by Arie, and had not been delivered to the Sagi Trust, Sagi or
Fang.

216. TRI also knowingly aided, abetted, induced, participated in, enabled and
substantially assisted the respective breaches of fiduciary duties owed to Arie, Orly and the Orly
Trust by Sagi, TPR, the Sagi Trust, Fang and the Trump Parties.

217. Sagi, TPR, the Sagi Trust, Fang, and the Trump Parties, each acting im conspiracy
with, and as the co-agent of one another, entered into an illegal scheme, agreement, plan, and
artifice to breach each other’s respective fiduciary duties owed to Arie, Orly, and the Orly Trust
by the conduct alleged herein in furtherance of this conspiracy.

218. Asa result of such breaches of fiduciary duty, aiding and abetting of breaches of
fiduciary duties and conspiracies to breach fiduciary duty, by Sagi, TPR, the Sagi Trust, Fang,
the Trump Parties and TRI, and each of them, Arie suffered compensatory damages in an amount
to be determined.

219. Asaresult of such breaches of fiduciary duty, aiding and abetting of breaches of
fiduciary duty and conspiracies to breach fiduciary duty, by Sagi, TPR, the Sagi Trust, Fang, the
Trump Parties and TRI, and each of them, Orly, individually and as the beneficiary of the Orly
Trust, suffered compensatory damages in an amount to be determined.

FOURTH CAUSE OF ACTION
ON BEHALF OF ARIE AND ORLY

(Claim for Unjust Enrichment and Rescission Against Sagi, TPR, Dalia, the Sagi Trust,
Fang, and the Trump Parties)

220. Plaintiffs repeat and reallege the allegations in paragraphs | through 219.
22]. Asaresult of the Delaware Chancery Court holding, Dalia, TPR, Sagi, the Sagi

Trust and the Trump Parties would each be unjustly enriched at the expense of Arie and the Orly
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Trust if each or any of them were allowed to retain any direct or indirect benefit or consideration
received by each of them from TPR’s ownership of TRI Shares, which none of them are entitled,
in equity or good conscience, to retain.

222. Plaintiff Arieis entitled to rescind the transfer of his 51% interest im TPR to Dalia
pursuant to the Stipulation of Settlement and 2004 Transaction Documents based on failure of
consideration because, as a result of the holding by the Delaware Chancery Court, Arie did not
receive any of the consideration that was due to him pursuant to such Agreements, including and
not limited to (a) his 14% interest in the Arie TRI Shares, and his right to vote 52.85% of the TRI
Shares that he controlled prior to the Delaware Court voiding the 2004 Transfers.

223. Plaintiff the Orly Trust, is entitled to rescind the 2004 Transaction Documents
based on failure of consideration because as a result of the holding by the Delaware Court the
Orly Trust did not receive any of the consideration due to the Orly Trust pursuant to the 2004
Transfers.

224, Arie and the Orly Trust are each also entitled to rescission because of failure of
consideration based on mutual mistake as to the enforceability of the 2004 TPR Transfers of
TRI stock to Arie, the Sagi Trust and the Orly Trust pursuant to the Stipulation of Settlement and
the 2004 Transaction Documents.

225, Arie and the Orly Trust are each entitled to an accounting.

226. Arie and the Orly Trust have no adequate remedy at law.

FIFTH CAUSE OF ACTION

(Claim for Permanent Injunction Against Sagi, TPR, Dalia, the Sagi Trust, Fang and the
Trump Parties)

227. Plaintiffs repeat and re-allege the allegations in paragraphs | through 226.

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228, Plaintiffs are entitled to the issuance of a permanent injunction enjoining and
restraining Sagi, TPR, Dalia, the Sagi Trust, Fang and the Trump Parties, and each of them, from
directly or indirectly transferring, selling, acquiring, pledging, assigning, diluting, voting,
valuing, replacing, conveying, using, removing from the jurisdiction, or otherwise disposing of,
or encumbering the 3000 shares of TRI stock that reverted to TPR’s control as a result of the
Delaware Court rulings.

229. The failure to grant such permanent injunction will result in irreparable injury to
the Plaintiffs.

230. There is no adequate remedy at Jaw.

231. The balance of equities favor the Plaintiffs.

SIXTH CAUSE OF ACTION
(Claim for Breach of Contract against TPR on Behalf of Arie and Orly)

232. Plaintiffs repeat and reallege the allegations in paragraphs | through 231.

233. TPR entered into the 2004 TPR Transfer Agreement with Arie.

234. TPR entered into the 2004 TPR Transfer Agreement with the Orly Trust.

235. TPR breached its express and implied covenants and representations thereunder in
connection with the transfer of TRI shares to Arie.

236. TPR breached its express and implied covenants and representations thereunder
by purporting to agree fo transfer the Arie, Sagi Trust and Orly Trust TRI Shares to the Trump
Parties.

237. Arie and the Orly Trust performed their respective obligations under the 2004

TPR Transfer Agreement.

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238. Asaresult of such breach of contract, Arie lost the benefit of his bargain and
suffered damages in an amount yet to be determined.

239. TPR breached its express and implied covenants and representations under the
2004 Transaction Documents in connection with the transfer of TRI shares to the Orly Trust.

240. The Orly Trust performed its obligations under the 2004 TPR Transfer
Agreement.

241. As aresult of such breach of contract, the Orly Trust lost the benefit of its bargain
and suffered damages in an amount yet to be determined, but believed to be in an amount to be

determined.

SEVENTH CAUSE OF ACTION
ON BEHALF OF ARIE

(Claim for Breach of Contract against the Sagi Trust)

242. Plaintiffs repeat and reallege the allegations in paragraphs | through 241.

243, The Sagi Trust entered into the 2004 Voting Trust Agreement with Arie.

244. The Sagi Trust breached its express and implied covenants and representations
thereunder in connection with Arie’s voting rights and control of TRI shares.

245. Ane performed his obligations under the 2004 Voting Trust Agreement.

246. As aresult of such breach of contract, Arie lost the benefit of his bargain and
suffered damages in an amount yet to be determined.

EIGHTH CAUSE OF ACTION
ON BEHALF OF ARTE AND ORLY

(Claim for Tortious Interference with Contract Against the Trump Parties)

247. Plaintiffs repeat and reallege the allegations in paragraphs | through 246.

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248. The Trump Parties, and each of them, tortiously interfered with, among other
things, (i) the Stipulation of Settlement between Arie and Dalia, (ii) the 2004 TPR Transfer
Documents between Arie and the Orly Trust and TPR, (iii) the 2004 Voting Trust Agreement
between Arie and the Sagi Trust, and (iv) the 2004 Voting Trust Agreement between Arie and
the Orly Trust. |

249. The Trump Parties, and each of them, intentionally caused such breaches of
contract without justification, as a result of the conduct set forth herein.

250. As aresult of the Trump Parties’ tortious interference with contract, Arie suffered
damages in an amount yet to be determined.

25]. Asaresult of the Trump Parties’ tortious interference with contract, Orly and the
Orly Trust suffered damages in an amount yet to be determined.

NINTH CAUSE OF ACTION ON BEHALF OF ARIE AND ORLY

(Claim for Aiding and Abetting Tortious Interference with Contract Against Sagi, Fang,
and the Sagi Trust)

252. Plaintiffs repeat and reallege the allegations in paragraphs 1 through 251.

253. Sagi, Fang, and the Sagi Trust each had knowledge of the Trump Parties’ tortious
interference with the 2004 TPR Transaction Agreement and the Stipulation of Settlement, and
each such defendant caused, encouraged and substantially assisted the Trump Parties in the
commission of the foregoing acts of tortious interference with 2004 TPR Transaction Agreement
and the Stipulation of Settlement.

254. Sagi, Fang, and TPR each had knowledge of the Trump Parties’ tortious
interference with the 2004 Voting Trust Agreement, and the Stipulation of Settlement, and each
such defendant caused, encouraged and substantially assisted the Trump Parties in the

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commission of the foregoing acts of tortious interference with the 2004 Voting Trust
Agreements.
255. By reason of the foregoing, Arie has been damaged in an amount to be
determined.
256. By reason of the foregoing, Orly, individually and as the beneficiary of the Orly
Trust has been damaged in an amount to be determined.
TENTH CAUSE OF ACTION ON BEHALF OF ARIE AND ORLY

(Claim for Preliminary Injunction Against the Trump Parties, Sagi Genger TPR and the
Sagi Trust Under CPLR 7109)

257. Plaintiffs repeat and reallege the allegations in paragraphs 1 through 256.

258. The Arie and Orly Trust TRI shares are unique chattel.

259. By virtue of the facts set forth above, Arie is the beneficial owner of the Arie TRI
shares.

260. Sagi is not authorized to take any action on behalf of TPR to sell, transfer, pledge,
dilute, or take any action on behalf of TPR relating to or concerning the 3000 TRI shares that
reverted to TPR, without the prior written consent of Arie and Sagi is not authorized to exercise
any and all rights, including TPR’s voting rights with respect to such 3000 TRI shares, except as
so directed by Arie as the beneficial owner of such shares and the voting rights appurtenant
thereto.

26]. Sagiis not authorized to take any action on behalf of TPR to sell, transfer, pledge,
dilute, or take any action on behalf of TPR relating to or concerning the Orly Trust TRI shares.

262. By virtue of the facts set forth above, the Orly Trust is entitled to the benefits
provided to it under the Stipulation of Settlement.

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263. The Arie TRI shares, the Orly Trust TRI shares, and the Sagi Trust shares are
wrongfully being held by the Trump Parties.

264, Plaintiffs are entitled to a preliminary injunction, under CPLR 7109, that the Arie
TRI shares, the Orly Trust TRI shares, and the Sagi Trust TRI shares shall be restrained and
enjoined from transferring, selling, diluting, pledging, assigning or otherwise disposing of or
removing such shares from the State until the further order of the Court.

WHEREFORE, Plaintiffs demand Judgment in favor of Plaintiffs against the
Defendants as follows:

(a) on the First Cause of Action against all Defendants:. that this Court find and
declare that Arie is entitled to an Order from this Court to reform the terms of the Court-Ordered
Stipulation of Settlement to provide as follows:

G) that the transfer by Arie of his 51% interest in TPR to Dalia and the
concurrent transfer of the 3000 shares of TRI stock to Arie, the Orly Trust and the Sagi Trust,
respectively, as originally set forth in the Stipulation of Settlement is voided ad initio as a result
of the Delaware Court finding that the 2004 Transfers are invalid;

Gi) that all the assets of TPR, other than the 3000 Arie, Orly Trust and Sagi Trust
TRI shares, remain the property of TPR or any successor in interest to those assets;

(iii) that pursuant to a further order of this Court the Court-Ordered Stipulation of
Settlement is modified ad initio to provide that the 3000 shares of TRI common stock that were
returned to TPR as a result of the Delaware Court Action voiding the original 2004 Transfers be

placed in a newly formed single purpose entity controlled by Arie (hereinafter, “TPR2”);

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(iv) that Arie be declared the 51% owner of TPR2 which in turn shall be declared,
ab initio, the record and beneficial owner of all such 3000 TRI shares, as though no 2004
Transfers were consummated under the original terms of the Stipulation of Settlement;

(v) that the Orly Trust and Sagi Trust each be declared the owner of 24.5% of
TPR2 so that together they own the remaining 49% of TPR2;

(vi) that TPR2 shall not sell or transfer the 3000 TRI shares prior to Arie’s death,
unless such sale would otherwise be permitted and would not violate the terms of the 2001
Stockholders Agreement, including, but not limited to, Article 2 of such Agreement;

(vii) upon Arie’s death, 1102.8 of TRI shares, plus any stock dividends relating
thereto (“the Sagi Trust TRI shares”) will be transferred by TPR2 outright to the Sagi Trust, and
1102.8 of TRI shares, plus any stock dividends relating thereto (“the Orly Trust TR] Shares”)
will be transferred outright to the Orly Trust;

(viii) all cash dividends relating to the Sagi Trust and the Orly Trust TRI Shares
received by TPR2 during Arie’s lifetime will be distributed, after payment of taxes and expenses
to the Shareholders of TPR2, as if (a) Arie owned 794,40 shares, representing 13.99468% of the
common stock of TRI, and (b) the Sagi Trust and the Orly Trust each owned 1102.8 shares,
representing 19.42766% of TRI common stock; |

(ix) Arie through his 51% control of TPR2 will retain all voting rights to the 3000
TRI shares and any additional TRI shares issued to TPR or TPR2 as stock dividends or otherwise
for the duration of his life.

(x) The Trump Group shall deliver to TPR2 the 1102.8 shares of TRI common

stock purportedly purchased under the 2008 Stock Purchase Agreement.

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(xi) The $26,715,416.00 paid by the Trump Group to the Sagi Trust under the
2008 Stock Purchase Agreement will be returned to the Trump Group by TPR and the Sagi
Trust.

(xii) The Trump Group shall deliver to TPR2 the 794.40 Arie and the 1102.8 Orly
Trust TRI shares purportedly sold to TPR under the Side Letter Agreement and 2010
Transaction.

(xiii) The purported sales by TPR of the Arie and Orly Trust TRI Shares to the
Trump Group, while the Delaware Supreme Court appeal was pending, will be declared null and
void and the proceeds from these purported sales now held in escrow will be released to the
Trump Group.

(xiv) TRI shall record on its books that TPR2 is the record owner of 3000 shares
of TRI Common Stock, representing 52.85% of the issued common stock of TRI.

(xv) TPR2 will consent to the terms of the 2001 Stockholders Agreement.

(xvi) Arie, Orly, Dalia, Sagi, TPR and TRI shall be directed to take all other
necessary action and fo execute all documents necessary to give full meaning to the intention of
the parties to the Court-Ordered Stipulation of Settlement in light of the rulings of the Delaware
Court that the 2004 Transfers were invalid.

(xvii) Any other declaration as the Court may deem fair and reasonable to give
effect to the Original Intent of the parties to the Stipulation of Settlement.

(b} on the Second Cause of Action against Defendants Sagi, TPR, Dalia, the Sagi

Trust, Fang and the Trump Parties, that the Court find and declare that:
(i) upon the Delaware Court voiding TPR’s 2004 transfer of 52.85% of TRI
shares to Arie, the Sagi Trust and the Orly Trust, legal title to such TRI shares reverted to TPR
subject to Arie’s rights as a constructive beneficial owner of 51% of the shares of TPR with
respect to TPR’s ownership of 52.85% of TRI shares;

(ii) upon TPR becoming the record owner of Arie’s 794.4 shares of TRI stock as a
result of the Delaware Court rulings, such shares were immediately held in a constructive trust
by TPR for the benefit of Arie as the beneficial owner of those shares;

(iii) upon TPR becoming the record owner of the 1102.8 shares of TRI stock
comprising the Orly Trust TRI shares, a constructive trust was immediately created in favor of
Arie with respect to the Orly Trust TRI Shares, including, but not limited to, the voting rights
appurtenant to such shares, all of which were held by TPR for the benefit of Arie, subject to the
Orly Trust’s right to receive the Orly Trust TRI Shares upon Arie’s death;

(iv) upon TPR becoming the record owner of the 1102.8 shares of TRI stock
comprising the Sagi Trust TRI shares, a constructive trust was immediately created in favor of
Arie with respect to the Sagi Trust TRI Shares, including, but not limited to, the voting rights
appurtenant to such shares, all of which were held by TPR for the benefit of Arie, subject to the
Sagi Trust’s right to receive the Sagi Trust TRI Shares upon Arie’s death;

(v) upon TPR becoming the record owner of all 3000 shares of TRI stock
comprising the Orly Trust Shares, the Sagi Shares and the Arie Shares, TPR held the voting

rights to such 3000 shares in a constructive trust for the benefit of Arie;

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(vi) TPR was not authorized to transfer any of the 3000 TRI shares as to which it
became the record owner, without the consent of Arie as the beneficial owner of such TRI
Shares;

(vii) TPR is not authorized to vote any of the 3000 TRI shares that reverted to
TPR as record owner as a result of the Delaware Court rulings, except at the direction of Arie;

(viii) The Constructive Trust in favor of Arie imposed upon Arie, the Orly Trust
and the Sagi Trust TRI shares existed at the moment record ownership reverted to TPR, and
attaches to any purported sale of these shares to the Trump Group, who were not and are not
bona fide purchasers of any of the 3000 TRI shares that reverted to TPR.

(c) on the Third Cause of Action against Defendants Sagi, TPR, the Sagi Trust,
Fang, the Trump Parties and TRE, jointly and severally, as follows:

(i) awarding compensatory damages to the Plaintiff Arie in an amount to be
determined, plus an additional award of punitive damages in an amount to be determined, plus
Plaintiff's attomeys fees and costs incurred in connection with this action;

(ii) awarding compensatory damages to the Plaintiff Orly Genger individually and
as the beneficiary of the Orly Trust in an amount to be determined, plus an additional award of
punitive damages in an amount to be determined, plus Plaintiffs attorneys fees and costs
incurred in connection with this action;

(d) on the Fourth Cause of Action against Defendants Sagi, TPR, Dalia, the Sagi
Trust, Fang, and the Trump Parties:
(i) rescinding Plaintiff Arie’s transfer of his 51% interest in TPR to Dalia pursuant

to the Stipulation of Settlement and 2004 Transaction Documents;

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(ii) rescinding the 2004 Transaction Documents;
(iii) Defendants Sagi, TPR, Dalia, the Sagi Trust, Fang and the Trump Parties
must account to Arie and Orly, individually and as the beneficiary of the Orly Trust, for 3000
TRI Shares and/or their respective value that are now or ever have been in their respective
possession, custody or control; and
(iv) such other equitable relief as the Court may deem fair and reasonable;
(e) on the Fifth Cause of Action against Defendants Sagi, TPR, Dalia, the Sagi Trust,
Fang and the Trump Parties, permanently enjoining and restraining these Defendants, and
each of them, from directly or indirectly transferring, selling, acquiring, pledging, assigning,
diluting, voting, valuing, replacing, conveying, using, removing from the jurisdiction, or
otherwise disposing of, or encumbering the 3000 shares of TRI common stock that reverted to
TPR as a result of the Delaware court rulings.
(f} on the Sixth Cause of Action against Defendant TPR:
(i) awarding compensatory damages to the Plaintiff Arie in an amount to be
determined, plus Plaintiff's attomeys’ fees and costs incurred in connection with this action; and
(ii) awarding compensatory damages to the Plaintiff Orly individually and as the
beneficiary of the Orly Trust in an amount to be determined, plus Plaintiff's attorneys’ fees and
costs incurred in connection with this action.
(g) on the Seventh Cause of Action against Defendant Sagi Trust, a money judgment
awarding compensatory damages to the Plaintiff Arie in an amount to be determined, plus

Plainitiff’s attorneys’ fees and costs incurred in connection with this action,

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(h) on the Eighth Cause of Action Against the Defendant Trump Parties, jointly and
severally: |

(i) awarding compensatory damages to the Plaintiff Arie in an amount to be
determined, plus an additional award of punitive damages in an amount to be determined, plus

| Plaintiff's attorneys’ fees and costs incurred in connection with this action;

Gi) awarding compensatory damages to the Plaintiff Orly individually and as the
beneficiary of the Orly Trust in an amount to be determined, plus an additional award of punitive
damages in an amount to be determined, plus Plaintiff’s attorneys’ fees and costs incurred in
connection with this action;

(i) on the Ninth Cause of Action Against Sagi, Fang, and the Sagi Trust:

(i) awarding compensatory damages to the Plaintiff Arie in an amount to be
determined, plus an additional award of punitive damages in an amount to be determined, plus
Plaintiff's attorneys’ fees and costs incurred in connection with this action;

(ii) awarding compensatory damages to the Plaintiff Orly, individually and as the
beneficiary of the Orly Trust, in an amount to be determined, plus an additional award of
punitive damages in an amount to be determined, plus Plaintiffs attorneys’ fees and costs
incurred in connection with this action; |

(j) on the Tenth Cause of Action for a Preliminary Injunction Against the Trump
Partics, Sagi Genger, TPR and the Sagi Trust Under CPLR 7109, and each of them for an
injunction or temporary restraining order under CPLR 7109, restraining and enjoining each of

them from transferring, selling, diluting, pledging, assigning or otherwise disposing of or

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removing the Arie TRI Shares, the Orly Trust TRI shares, and the Sagi Trust TRI shares from the

State until the further Order of the Court.

(k) On all causes of action set forth in this Complaint, such other relief as this
court may deem just, together with the costs and disbursements incurred by plaintiffs in this

action, including the recovery of plaintiffs’ reasonable attorneys’ fees.

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DATED: New York, New York
September 20, 2011

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